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                                                                                     SHELBY COUNT'y
                                                                                    CHANCERY  COURT

                                TN THE CHANCERY COURT OF TENNESS E                    APR 22 ?OO1 U
                            FOR THE THIRTIETH JUDICIAL DISTRICT AT M ?J                              t

                                                                     TIME

    MCFADDEN COMMUNICATIONS, LLC,

               Plaintiff,

    v.                                                           No.

    THE TRAVELERS INDEMNITY
    COMPANY OF AMERICA,

               Defendant.


                                      COMPLAINT FOR DAMAGES


    TO THE CHANCELLORS OF THE CHANCERY COURT FOR THE THIRTIETH JUDICIAL
    DISTRICT:

               Comes now the plaintiff, McFadden Communications, LLC, by counsel, and for its

    complaint against the defendant, The Travelers Indemnity Company of America, states as

    follows:

               1. McFadden Communications, LLC ("McFadden") is a limited liability company

   organized and existing under the laws of the State of Tennessee with its principal place of

   business in Memphis, Shelby County, Tennessee.

           2. The Travelers Indemnity Company of America ("Travelers") is a foreign insurer

   authorized to do business in the State of Tennessee. Its registered agent for service of process is

   Leslie Newman, Commissioner of the Tennessee Department of Commerce and Insurance, 500

   James Robertson Parkway, Fifth Floor, Nashville, Tennessee 37243.

           3. Personal jurisdiction over Travelers is proper pursuant to T.C.A. § 20-2-201 et seq.

   and § 56-2-501 et seq. Venue in this Court is proper pursuant to T.C.A. § 20-4-101 et seq.




                                                                                                         Exhibit 1
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                               The Travelers/McFadden Insurance Policy

             4. At all relevant times, Travelers insured McFadden's property at 1836 Chelsea,

     Memphis, Tennessee, pursuant to insurance policy No. 680 3085LI48 issued by Travelers to

     McFadden (the "Travelers/McFadden Policy"). The Chelsea property is listed in the

     Travel ers/M cFadden Policy as premises location no. 02, building no. 01.

            5. The Travel ers/McFadden Policy includes Businessowners Property Coverage. A true

    and complete copy of the relevant Businessowners Property Coverage Special Form, No. MP TlI

    02 02 05, is attached as Exhibit 1. McFadden's building at 1836 Chelsea is "Covered Property"

    as defined therein. See Exhibit 1, p. 1, Section A. 1.



                    McFadden's Insurance Claim and Travelers' Wrongful Denial

            6. On or about September 12, 2008, McFadden suffered vandalism damage and theft

    losses at 1836 Chelsea. Thieves broke into the building and stole valuable copper and electrical

    material, equipment, and fixtures.

            7. The theft claim was timely reported to Travelers by McFadden.

            8. McFadden complied with all duties imposed upon it in the event of loss or damage as

    prescribed by the Travel ers/M cFadd en Policy in a complete and timely manner. See Exhibit 1, p.

   27-28, Section E. 3.

            9. Travelers did not fully and adequately investigate McFadden's claim as it is obligated

   to do.

            10. Travelers wrongfully denied McFadden's claim under the Travelers/McFadden

   Policy. By letter dated December 4, 2008, Michael Brown, Technical Specialist with Travelers,


                                                    2




                                                                                                        Exhibit 1
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     denied the claim ostensibly because the building at 1836 Chelsea had been vacant for more than

     60 days prior to the date of loss. A true and complete copy of Brown's December 4, 2008 letter

     is attached as Exhibit 2.

             11. Prior to the December 4, 2008 denial letter, McFadden provided Travelers with

    evidence of occupancy of 1836 Chelsea by tenant Marcus Smith d/b/a Hi Tech Performance

    Engine Rebuilders. A true and complete copy of the license agreement and sales contract

    between McFadden and Smith is attached as collective Exhibit 3.

            12. On July 23, 2008, Smith reported a theft loss at his business, High Tech Performance

    Engine Rebuilders, at 1836 Chelsea to the Memphis Police Department. A true and complete

    copy of the Memphis Police Department theft report is attached as Exhibit 4.

            13. Smith was unable to get financing to purchase 1836 Chelsea as required by the sales

    contract with McFadden and vacated the premises in mid to late August, 2008.

            14. Also made available to Travelers prior to the December 4, 2008 denial letter were

    statements from McFadden employees Stillman McFadden, Ronnie Kiihnl, and Bubba Ross

    regarding the use and occupancy of the building at 1836 Chelsea by Smith, and his vacating the

    building, among other matters.

            15. Smith occupied the building and premises at 1836 Chelsea within 60 days of the

    September 12, 2008 date of loss.

           16. Travelers knew that the building and premises at 1836 Chelsea were not vacant for

   more than 60 days prior to the September 12, 2008 date of loss.

           17. On December 8, 2008, McFadden's lawyer, not yet having received a copy of the

   December 4, 2008 denial letter, sent a letter to Travelers demanding that McFadden's claim be


                                                   3




                                                                                                     Exhibit 1
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     honored within 60 days pursuant to T.C.A. § 56-7-105. A true and complete copy of Garrett M.

     Estep's December 8, 2008 letter is attached as Exhibit 5.

              18. On December 29, 2008, McFadden's lawyer sent a second letter to Travelers with

     additional information asking Travelers to reconsider its wrongful denial of McFadden' s claim.

    Travelers was also asked to identify any and all policy provisions justifying denial of

    McFadden's claim, other than the alleged vacancy of the building and premises for more than 60

    days prior to September 12, 2008. See Exhibit 1, p. 4, Section A. 5. d. A true and complete copy

    of Garrett M. Estep's December 29, 2008 letter is attached as Exhibit 6.

              19. Travelers did not formally respond to McFadden's second demand letter of

    December 29, 2008. At no time did Travelers base its denial of McFadden's claim for theft

    losses occurring on or about September 12, 2008 on any provision in the Travelers/McFadden

    Policy other than the limitation for vacant buildings. See Exhibit 1, p. 4, Section A. 5. d.

    Travelers waived, or is estopped from asserting, any other basis for the denial of McFadden's

    claim.

             20. Travelers apparently stands by its denial of McFadden's claim based on 1836

    Chelsea allegedly being vacant for more than 60 days prior to September 12, 2008, despite

    overwhelming evidence to the contrary.

             21. McFadden complied with all terms and conditions of the Travel ers/McFadden Policy

   necessary to bring legal action against Travelers. See Exhibit 1, p. 39, Section F. 4.

             22. Travelers did not made any good faith attempt to negotiate a prompt, fair, and

   equitable settlement with McFadden, despite the fact that liability is reasonably clear.




                                                     4




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                                      Causes of Action and Damages

            23. As a direct and proximate result of the above acts and omissions, Travelers' decision

    to deny McFadden's claim is a breach of contract.

            24. As a direct and proximate result of the above acts and omissions, Travelers breached

    the duty of good faith and fair dealing it owes to McFadden. Travelers failed to conduct a full

    and adequate investigation of McFadden's claim. Travelers failed to act reasonably promptly in

    its claims handling. Travelers failed to reconsider its wrongful denial of McFadden's claim once

    liability became reasonably clear, if there ever was a doubt. Travelers failed to negotiate in good

    faith with McFadden to effectuate a prompt, fair, equitable, and reasonable settlement.

            25. McFadden is entitled to recover from Travelers all compensatory damages allowed

    pursuant to the Travel ers/M cFadden Policy including, but not limited to, the value of the

    damaged and stolen copper and electrical material, equipment, and fixtures, less McFadden's

    deductible. See Exhibit 1, p. 28-29, Section E. 4.

            26. Travelers did not act in good faith, causing McFadden to incur additional expense,

    loss, and injury including, but not limited to, attorneys' fees and expenses. As such, Travelers is

    liable for all interest plus a 25% statutory penalty pursuant to T.C.A. § 56-7-105.

           27. Travelers willfully and knowingly violated Tennessee's Consumer Protection Act,

   T.C.A, § 47-18-104. As such, Travelers is liable for treble damages and also McFadden's

   attorneys' fees, costs, and expenses pursuant to T.C.A. § 47-18-109.

           WHEREFORE, the plaintiff, McFadden Communications, LLC, demands judgment

   against the defendant, The Travelers Indemnity Company of America, in an amount sufficient to

   compensate it for all insurable losses under the relevant insurance policy, treble damages, the


                                                     5




                                                                                                      Exhibit 1
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    25% statutory penalty, pre- and post-judgment interest, its attorneys' fees, expenses, and costs

    incurred herein, and such other relief, both general and specific, to which it may be entitled.



                                           Respectfully submitted,

                                           FARRIS BOBANGO BRANAN, PLC



                                           By:           ~4
                                                  Garrett M. Estep     4 19078
                                                                      1#o.
                                                  One Commerce Square, Ste. 2000
                                                  Memphis, Tennessee 38103
                                                  (901) 259-7100
                                                  Counsel for McFadden Communications, LLC




                                                    6




                                                                                                       Exhibit 1
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                                                                                                       BUSINESSOWNERS


                    BUSINESSOWNERS PROPERTY COVERAGE
                              SPECIAL FORM
     Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
     what is and is not covered.
     Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
     words "we", "us" and "our" refer to the Company providing this insurance.
     Other words and phrases that appear in quotation marks have special meaning. Refer to Paragraph G - PROP-
     ERTY DEFINITIONS.
     A. COVERAGE                                                                     (f) Lawn maintenance and snow re-
        We will pay for direct physical loss of or damage                                 moval equipment; and
        to Covered Property at the premises described in                             (g) Alarm systems; and
        the Declarations caused by or resulting from a                          (8) If not covered by other insurance:
                              Coveed
                               Lss.(a) Cuseof                                            Additions under construction, al-
        l1, Covered Property                                                             terations and repairs to the build-
             Covered Property, as used in this Coverage                                  ing or structure; and
             Form, means the type of property described                              (b) Materials, equipment, supplies
             in this Paragraph A.I., and limited in Para-                                and temporary structures, on or
            graph A.2., Property Not Covered, if a Limit of                              within 1,000 feet of the described
            insurance is shown in the Declarations for                                   premises, used for making addi-
            that type of property.                                                       tions, alterations or repairs to the
            a. Building, meaning the building or struc-                                  building or structure.
                  ture described in the Declarations, includ-             b. Business Personal Property located in
                  ing:                                                         or on the buildings described in the Dec-
                 (1) Completed additions;                                      larations or in the open (or in a vehicle)
                 (2) Fences;                                                   within 1,000 feet of the described prem-
                                                                               ises, including:
                 (3) Fixtures, including outdoor fixtures;                     (1) Property owned by you and used in
                 (4) Retaining walls, whether or not at-                            your business;
                       tached;                                                 (2) Property of others that is in your care,
                 (5) Permanently attached:                                          custody or control;
                       (a) Machinery; and                                      (3) Your use interest as tenant in im-
                       (b) Equipment;                                               provements and betterments. Im-
                                    (6)   utdor
                                           pols;provements
                                                   simmig                                          and betterments are fix-
                                    (6)Outoorswimin
                                          pols;tures,                                       alterations, installations or ad-
                (7) Personal property owned by you that                            ditions:
                      is used to maintain or service the                           (a) Made a part of the building or
                      building or structure or its premises,                            structure you rent, lease or oc-
                     including:                                                         cupy but do not own; and
                     (a) Fire extinguishing equipment;                             (b) You acquired or made at your
                     (b) Outdoor furniture;                                             expense but are not permitted to
                     (c) Floor coverings;                                               remove; and
                     (d) Lobby and hallway furnishings;                       (4) "Money" and "Securities".
                     (e) Appliances used for refrigerating,         2. Property Not Covered
                          ventilating, cooking, dishwashing              Unless the following is added by endorse-
                          or laundering;                                 ment to this Coverage Form, Covered Prop-
                                                                         erty does not include:


                                                                                                                EXHIBIT
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                                                                                                                       Exhibit 1
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      BUS INESSOWNERS


               a. Aircraft;                                                1. "Valuable Papers and Records", except
               b. Automobiles held for sale;                                    as provided in the Valuable Papers and
               c. Vehicles or self-propelled machines that                      Records Coverage Extension;
                     are:                                                  m. Property that is covered under another
                                         Licesed
                                          se o
                     (1) Liesdfrueo ulcras rin  pubic
                                                   or oads   orCoverage                      Form of this or any other policy
                                                                                   which it is more specifically described,
                     (2) Operated principally away from the                    except for the excess of the amount due
                          described premises;                                  (whether you can collect on it or not) from
                    This paragraph does not apply to:                          that other insurance;
                                    (1)
                                     r slf-popeled
                                         ehiles          achnesn.              "Fine Arts" except as provided in the Fine
                          or autos you manufacture, process orArsditoaCveg;
                          warehouse;                                       o. Bullion, gold, silver, platinum and other
                                                                               precious alloys or metals, except if they
                    (2) Vehicles or self-propelled machines,                   are used in your "operations" (theft limita-
                         other than autos, you hold for sale; or               tion applies);
                    (3) Trailers or semi-trailers, except as              p. "Electronic Data Processing Equipment"
                         provided in the Non-Owned Detached                    (not including "stock") except as provided
                         Trailers Coverage Extension.                          in the Electronic Data Processing Cover-
             d. Dams or dikes;                                                 age Extension;
             e. Contraband, or property in the course of                  q. "Electronic Data Processing Data and
                   illegal transportation or trade;                            Media" (not including "Stock") except as
                                     Te cst f grdin, bckfll-provided
                                 f.ecavting                                                in the Electronic Data Process-
                   ing or filling (except those costs made                     contsRcal       Coverage Extension;  th     c
                   necessary due to repair of buildings in-                    onsRcial                 oeaeEtnin
                   sured under this Coverage Form from a                      o
                   Covered Cause of Loss), reclaiming or                 r. Outdoor signs, except as provided in the
                   restoring land or water;                                   Signs Coverage Extension.
            g. Water or land whether in its natural state             3. Busine~ss Income and Extra Expense
                   or otherwise (including land on which the             Business Income and Extra Expense is pro-
                   property is located), land improvements,              vided at the premises described in the Decla-
                   growing crops or standing timber;                     rations when the Declarations show that you
            h. Outdoor trees, shrubs, plants and lawns,                  have coverage for Business Income and Ex-
                  other than "stock" except as provided in               tra Expense.
                  the Outdoor Trees, Shrubs, Plants and                  a. Business Income
                  Lawns Coverage Extension.                                   (1) Business Income means:
               i.The following property while outside of                           ()NtIcm              NtPoi rLs
                                      the uildngs:before                                          income taxes) that would
                  (1) Bridges, walks, roadways, patios or                              have been earned or incurred, in-
                        other paved surfaces; or                                       cluding:
                 (2) Outdoor radio or television antennas,                             (1) "Rental Value"; and
                       (including satellite dishes) and includ-                        0ii) "Maintenance Fees", if you
                       ing their lead-in wiring, masts or tow-                               are a condominium associa-
                       ers;                                                                  tion; and
                 except as provided in the Outdoor Prop-                           (b) Continuing normal operating ex-
                 erty Coverage Extension;                                              penses incurred, including pay-
             j.Watercraft (including motors, equipment                                 roll.
                 and accessories) while afloat;                              (2) We will pay for the actual loss of
           k. Accounts and bills, except as provided in                            Business Income you sustain due to
                the Accounts Receivable Coverage Ex-                              the necessary "suspension" of your
                tension;                                                          ".operations" during the "period of res-
                                                                                  toration". The "suspension" must be


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                                                                                                                       Exhibit 1
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                                                                                                     BUSINESSOWNERS


                       caused by direct physical loss of or                 to the extent it reduces the amount of
                       damage to property at the described                  loss that otherwise would have been
                       premises. The loss or damage must                    payable under Paragraph a. Business
                      be caused by or result from a Coy-                     Income, above.
                      ered Cause of Loss. With respect to           c. Extended Business Income
                      loss of or damage to personal prop-Iftencsay"upsin                                  ofor
                     erty in the open or personal property             .IIftencsay"upnin                   fyu
                     in a vehicle, the described premises               operations" produces a Business Income
                     include the area within 1,000 feet of             loss payable under Paragraph a. Busi-
                                     thethedesribd
                                         iteat hic pem-ness                    Income above, we will also pay for
                      tes sie loatwited     dsrbe.rm                   the actual loss of Business Income you
                  (3) With respect to the requirements set                    sustBeins ourng  the deproertyhiat:
                        forth in Paragraph (2) above, if you                      ally eairontedeiptortlae andu
                        rent, lease or occupy only part of the                    al eard eul rrpae n
                        site at which the described premises                      1.operations" are resumed; and
                        are located, the described premises                   (2) Ends on the earlier of:
                        means:                                                    (a) The date you could restore your
                       (a) The portion of the building which                           11operations" with reasonable
                             you rent, lease or occupy; and                            speed, to the level which would
                       (b) Any area within the building or on                          generate the Business Income
                                                                                       amount that would have existed if
                             the site at which the described                           no direct physical loss or damage
                             premises are located, if that area                        occurred; or
                             services, or is used to gain ac-
                                           cessto, remies.(b)
                                                     he dscrbed                        Sixty consecutive days after the
                    tr x c.E   esst,t e d scienr mses                                  date determined in Paragraph (1)
                                   b.       Exra           Exenseabove.
                 (I) Extra Expense means reasonable                           However, this extended Business Income
                      and necessary expenses you incur                        does not apply to loss of Business In-
                      during the "period of restoration" that                 come incurred as a result of unfavorable
                      you would not have incurred if there                    business conditions caused by the impact
                      had been no direct physical loss of or                 of the Covered Cause of Loss in the area
                      damage to property caused by or re-                    where the described premises are lo-
                      sulting from a Covered Cause of                        cated.
                      Loss.                                             d.   If the Declarations show for Business In-
                (2) We will pay Extra Expense (other                         come and Extra Expense:
                     than the expense to repair or replace                   (1) Actual loss for 12 consecutive
                     property) to:                                                 months, then we will pay for loss of
                     (a) Avoid or minimize the "suspen-                            Business Income and Extra Expense
                           sion" of business and to continue                       that occurs within 12 consecutive
                           ".operations" at the described                          months following the date of direct
                           premises or at replacement                             physical loss or damage; or
                           premises or temporary locations,                  ()Ata osu
                           including relocation expenses                                               o1       osctv
                                                                             ()Ata osu o1                       osctv
                           and costs to equip and operate                         months subject to a maximum dollar
                          the replacement premises or                             limit, then we will pay for loss of Busi-
                          temporary locations; or                                 ness Income and Extra Expense that
                                       te "uspesion
                                       (b)   inimze         ofoccurs                       within 12 consecutive months
                        b uMini e the susen siton'in of                           following the date of direct physical
                          busprins"fyucnntcniu                                    loss or damage, subject to the limit
              (3) We will also pay Extra Expense        (in-         Covre C auseo eoss rene
                                                                  4.ow
                  cluding Expediting Expenses) to       re-4.CvrdaueofLs
                              pairor
                                 te popety,
                                         eplce     ut   nlyRISKS             OF DIRECT PHYSICAL LOSS unless
                              pairt ore p
                              ce        eplope ty, ut    nlyth         e loss is:



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        BUSINESSOWNERS


               a. Limited in Paragraph A.5., Limitations; or                     (b) Containers of property held for
               b. Excluded in Paragraph B., Exclusions,                              sale; or
           5. Limitations                                                        (c) Photographic or scientific instru-
               a. We will not pay for loss of or damage to:                          mn ess
                                                                         c. For loss or damage by "theft", the most
                   (1) The "interior of any building or struc-              we will pay in any one occurrence for the
                        ture" or to personal property in the                following types of property is:
                        building or structure, caused by rain,
                        snow, sleet, ice, sand or dust,                        (1) $2,500 for all furs, fur garments and
                        whether driven by wind or not,                              garments trimmed with fur.
                        unless:                                                (2) $5,000 for all jewelry, watches, watch
                        (a) The building or structure first sus-                    movements, jewels, pearls, precious
                             tains damage by a Covered                              and semi-precious stones, bullion,
                             Cause of Loss to its roof or walls                     gold, silver, platinum and other pre-
                             through which the rain, snow,                          cious alloys or metals. This limit does
                             sleet, ice, sand or dust enters; or                    not apply to jewelry and watches
                       (b) The loss or damage is caused by                         worth $500 or less per item.
                             or results from thawing of snow,                 (3) $2,500 for all patterns, dies, molds
                             sleet or ice on the building or                       and forms.
                             structure.                                d. We will not pay for any loss or damage
                  (2) Steam boilers, steam pipes, steam                       caused by any of the following, even if
                       engines, or steam turbines, caused                     they are Covered Causes of Loss, if the
                       by or resulting from any condition or                  building where loss or damage occurs
                      event inside such equipment. But we                     has been "vacant" for more than 60 con-
                      will pay for loss of or damage to such                  secutive days before that loss or damage
                      equipment caused by or resulting                       occurs:
                      from an explosion of gases or fuel                     (1) Vandalism;
                      within the furnace of any fired vessel                 (2) Sprinkler Leakage, unless you have
                      or within the flues or passages                              protected the system against freez-
                      through which the gases of combus-                          ing;
                     tion pass.
                                                                             ()Bidn           ls raae
                 (3) Hot water boilers or other water heat-                  ()Bidn ls raae
                     ing equipment caused by or resulting                    (4) Discharge or leakage of water;
                     from any condition or event inside                      (5) "Theft"; or
                     such boilers or equipment, other than                   (6) Attempted "theft".
                     explosion.                                             With respect to Covered Causes of Loss
             b. We will not pay for loss of or damage to                    other than those listed in Paragraphs (1)
                the following types of property unless                      through (6) above, we will reduce the
                caused by any of the "specified causes of                   amount we would otherwise pay for the
                loss" or building glass breakage:                           loss or damage by 15%.
                (1) Live animals, birds or fish, and then             e. Coverage for Business Income and Extra
                    only if they are killed or their destruc-              Expense does not apply to any loss or in-
                    tion is made necessary.                               crease in loss caused by direct physical
                (2) Fragile articles such as glassware,                    loss of or damage to "Electronic Data
                    statuary, marbles, chinaware and                       Processing Data and Media", except as
                    porcelains, if broken. This limitation                provided in the Interruption of Computer
                    does not apply to:                                    Operations Coverage Extension.
                    (a) Glass that is part of the exterior         6. Additional Coverages
                          or interior of a building or struc-         Unless otherwise stated, payments made un-
                          ture;                                       der the following Additional Coverages are in
                                                                      addition to the aPplicable Limits of Insurance.



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                                                                                                                     Exhibit 1
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                                                                                                BUSINESSOWNERS


             a. Arson and Theft Reward                                         ing within 180 days of the date of di-
                  (1) We will pay for reasonable expenses                      rect physical loss or damage.
                       you incur for rewards that lead to:                (2) Debris Removal does not apply to
                       (a) An arson conviction in connection                   costs to:
                            with a covered fire or explosion                   (a) Extract "pollutants" from land or
                            loss, or                                                water; or
                      (b) A "theft" conviction in connection                   (b) Remove, restore or replace pol-
                           with a covered "theft" loss.                             luted land or water.
                 (2) The most we will pay under this Addi-                (3) Except as provided in Paragraph (4)
                      tional Coverage in connection with a                     below, payment for Debris Removal
                      particular loss is $5,000.                               is included within the applicable Limit
             b. Claim Data Expense                                             of Insurance shown in the Declara-
                 (1) We will pay the reasonable expenses                      tos h          otw ilpyudrti
                      you incur in preparing claim data                       Additional Coverage is 25% of:
                      when we require such data to show                       (a) The amount we pay for the direct
                     the extent of loss. This includes the                          physical loss or damage to Coy-
                     cost of taking inventories, making ap-                         ered Property; plus
                     praisals, preparing income state-                        (b) The deductible in this Coverage
                     ments, and preparing other documen-                            Form applicable to that loss or
                     tation.                                                        damage.
                (2) Under this Additional Coverage, we                   (4) When the debris removal expense
                     will not pay for:                                        exceeds the 25% limitation in Para-
                     (a) Any expenses incurred, directed,                    graph (3) above or when the sum of
                          or billed by or payable to attor-                  the debris removal expense and the
                          neys, insurance adjusters or their                 amount we pay for the direct physical
                          associates or subsidiaries;                        loss Of or damage to Covered Prop-
                                       (b)n ny csts
                                             cnnecion       itherty                 exceeds the applicable Limit of
                        (b)Any.g costssa
                                  ap      in c n et onr it                   Insurance, we will pay up to an addi-
                                           Pararap
                                             AprasalE..,ortional                      $25,000 for debris removal ex-
                    (c) Any expenses incurred, directed,                     pense in any one occurrence, at each
                          or billed by or payable to insur-                  described premises.
                          ance brokers or agents, or their            d. Employee Dishonesty
                          associates or subsidiaries, with-
                          out our written consent prior to                (1) We will pay for loss of or damage to
                          such expenses being incurred.                       Covered Property resulting directly
               (3) The most we will pay for preparation                       from "employee dishonesty".
                    of claim data under this Additional                       We will pay for loss or damage you
                    Coverage in any one occurrence is                         sustain through acts committed or
                    $5,000 regardless of the number of                        events occurring during the Policy
                    premises involved.                                        Period. Regardless of the number of
                               c. Dbri Remvalyears                                   this insurance remains in force
                                                                             or the number of premiums paid, no
               (1) We will pay your expense to remove                         Limit of Insurance cumulates year to
                   debris of Covered Property, other                         year or Period to period.
                   than outdoor trees, shrubs, plants                    (2) Paragraphs B.2.h. and B.2.o. do not
                   and lawns as described in the Out-                        apply to this Additional Coverage.
                  door Trees, Shrubs, Plants and
                   Lawns Coverage Extension, caused             (3) We will not pay for loss resulting from
                  by or resulting from a Covered Cause              the dishonest acts of any ''em ployee"~
                          ofLs
                            htocr        uigthe policy              if coverage for that "employee" was
                  period. The expenses will be paideihrcnledoexuedfmay
                  only if they are reported to us in writ-          previous insurance policy of yours



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                          providing "employee dishonesty"                           (a) This Additional Coverage, as of
                         coverage,                                                      its effective date; or
                     (4) This Additional Coverage is cancelled                      (b) The prior "Employee Dishonesty"
                         as to any "employee" immediately                               insurance, had it remained in ef-
                         upon discovery by;                                             fect.
                         (a) You; or                                      e. Expediting Expenses
                         (b) Any of your partners, "members",                 (1) In the event of direct physical loss of
                             ".managers", officers, directors or                   or damage to Covered Property
                             trustees, not in collusion with the                   caused by or resulting from a Coy-
                             "1employee",                                          ered Cause of Loss, we will pay for
                             of any fraudulent dishonest act com-                  the reasonable and necessary addi-
                             mitted by that "employee" before or                  tional expenses you incur to make
                            after being employed by you.                           temporary repairs, expedite perma-
                      (5) We will pay for covered loss or dam-                    nent repairs, or expedite permanent
                                                                                  replacement, at the premises sustain-
                            age only if discovered no later than                  ing loss or damage. Expediting ex-
                            one year from the end of the Policy                   penses include overtime wages and
                            Period.                                               the extra cost of express or other
                     (6) The most we will pay for loss or dam-                    rapid Means of transportation. Expe-
                            age under this Additional Coverage in                 diting expenses do not include ex-
                            any one occurrence is $25,000.                        penses you incur for the temporary
                     (7) With respect to this Additional Cover-                   rental of property or temporary re-
                            age, occurrence means all loss or                     placement of damaged property.
                           damage caused by or involving the                 (2) With respect to this Additional Cover-
                           same "employee(s)" whether the re-                     age, "breakdown" to "covered equip-
                           sult of a single act or series of acts.               ment" will not be considered a Coy-
                    (8) If, during the period of any prior "Em-                  ered Cause of Loss, even if otherwise
                           ployee Dishonesty" insurance, you                     covered elsewhere in this Coverage
                           (or any predecessor in interest) sus-                 Form.
                           tained loss or damage that you could             (3) The most we will pay under this Addi-
                           have recovered under that insurance,                  tional Coverage in any one occur-
                           except that the time within which to                  rence is $25,000, regardless of the
                           discover loss or damage has expired,                  number of premises involved.
                           we will pay for it under this Additional     f. Fine Arts
                           Coverage, subject to the following:              (1) When a Limit of Insurance is shown
                          (a) This insurance became effective                    in the Declarations for Business Per-
                               at the time of cancellation or ter-              sonal Property at any described
                               mination of the prior insurance;                 premises, we will pay for direct physi-
                                              and                               cal loss of or damage to "fine arts"
                          (b) The loss or damage would have                     which are owned by:
                               been covered by this insurance(aYo;r
                               had it been in effect when the(aYo;r
                               acts or events causing the loss or              (b) Others and in your care, custody,
                               damage were committed or oc-                        or control;
                               cu rred.                                        caused by or resulting from a Coy-
                   (9) The insurance provided under Para-                      ered Cause of Loss, including while
                         graph (8) above is part of, not in addi-              on exhibit, anywhere within the Coy-
                         tion to the Limit of Insurance de-                    erage Territory.
                        scribed in Paragraph (6) above and is              (2) The breakage limitation under Para-
                        limited to the lesser of the amount re-                graph A.5.b.(2) does not apply to this
                        coverable under:                                       Additional Coverage.



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                 (3) The following exclusions apply to this               liability for fire department service
                         Additional Coverage:                             charges:
                         (a) We will not pay for loss or dam-             (1) Assumed by contract or agreement
                              age caused by or resulting from                   prior to loss; or
                             wear and tear, any quality in the           (2) Required by local ordinance.
                             property that causes it to damage
                             or destroy itself, gradual deterio-     h. Fire Protective Equipment Discharge
                             ration, insects, birds, rodents or          (1) If fire protective equipment dis-
                             other animals;                                     charges accidentally or to control a
                        (b) We will not pay for loss or dam-                    Covered Cause of Loss we will pay
                             age caused by or resulting from                    your cost to:
                             dampness or dryness of atmos-                      (a) Refill or recharge the system with
                             phere, or changes in or extremes                       the extinguishing agents that
                             of temperature;                                        were discharged; and
                       (c) We will not pay for loss or dam-                    (b) Replace or repair faulty valves or
                             age caused by or resulting from                        controls which caused the dis-
                            any repairing, restoration or re-                       charge.
                            touching process;                           (2) The most we will pay under this Addi-
                       (d) We will not pay for loss or dam-                    tional Coverage in any one occur-
                            age caused by or resulting from                    rence is $10,000, regardless of the
                            faulty packing;                                    number of premises involved.
                      (e) Paragraph 13.11.1b. Earth Move-           i. Forgery or Alteration
                            ment;
                      (f) Paragraph B.1.c. Governmental                 (1) We will pay for loss resulting directly
                                           Action;from                               "forgery' or alteration of checks,
                                           Action;drafts,                                Promissory notes, or similar
                      (g) Paragraph B.1.d. Nuclear Haz-                       written promises, orders or directions
                           ard;                                               to pay a sum certain in money that
                     (h) Paragraph B.1.f. War and Military                    are made or drawn by or drawn upon
                           Action;                                            you, or made or drawn by one acting
                     (i) Paragraph B.1.g. Water;                              as an agent or purported to have
                     (j) Paragraph B.I .h. Neglect; and                       been so made or drawn.
                                       (k)
                                        B2.g.We
                                             Pragrph                                will consider signatures that are
                                       (k)
                                        B2.g.produced
                                              Pragrph                                       or reproduced electroni-
                     No other exclusions in Paragraph B.                      cally, mechanically or by facsimile the
                    Exclusions apply to this Additional                       same as handwritten signatures.
                    Coverage. However, if any exclusions
                    are added by endorsement to this                         We will pay for loss that you sustain
                                         suh exlusons illthrough
                                       CoveageForm                                       acts committed or events oc-
                     Coa g Form such exton       l   sions will              curring during the Policy Period. Re-
                                       appl tothisAddtioal
                                                Cverge.gardless                           of the number of years this
               (4) The most we pay for loss or damage                        insurance remains in force or the
                   under this Additional Coverage in any                     number of premiums paid, no Limit of
                   one occurrence is $25,000, or the                         Insurance cumulates from year to
                   amount shown in the Declarations for                      year or period to period.
                   "fine arts", whichever is greater. This(2Wewlnopafrlsseutigrm
                   limit applies regardless of the number(2Wewlnopafrlsseutigrm
                                      of pemies ivoled.any                         dishonest or criminal acts corn-
                                      of pemies ivoled.mitted                         by you or any of your partners,
           g. Fire Department Service Charge                                 ".employees", "members", "manag-
              When the fire department is called to                          ers", officers, directors or trustees
              save or protect Covered Property from a                        whether acting alone or in collusion
              Covered Cause of Loss, we will pay up to                       with other persons.
              $25,000 in any one occurrence for your



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                       (3) We will pay for covered loss discov-                      fend against the suit, we will pay for
                              ered no later than one year from the                  any reasonable legal expenses that
                              end of the Policy Period.                             you incur and pay in that defense.
                      (4) The most we will pay for loss under                       The amount we will pay for these le-
                              this Additional Coverage in any one                   gal expenses will be part of and not in
                             occurrence is $25,000, regardless of                   addition to the limit described in
                             the number of premises involved.                       Paragraph (4) above.
                      (5) With respect to this Additional Cover-            j.Newly Acquired or Constructed Prop.
                             age, occurrence means all loss                    erty
                             caused by any person, or in which                 (1) Buildings
                             that person is concerned or impli-                     (a) We will pay for direct physical
                             cated, either resulting from a single                        loss of or damage to the following
                            act or any number of such acts,                               property caused by or resulting
                            whether the loss involves one or                              from a Covered Cause of Loss:
                            more instruments.                                             (i) Your:
                     (6) If, during the period of any prior For-                                a) New buildings while be-
                            gery or Alteration insurance, you (or                                   ing built on a premises
                            any predecessor in interest) sus-                                       shown in the Declara-
                            tained loss or damage that you could                                    tions;
                            have recovered under that insurance,                                b      e ulig          hl e
                           except that the time within which to                                     i).Ngw buildong nwhly ac-
                           discover loss or damage has expired,                                     igbito            el    c
                           we will pay for it under this Additional                                 quired Premises; and
                           Coverage provided:                                                   c) Materials,       equipment,
                           (a) This insurance became effective                                      stuctues usd inmon-r
                                  at the time of cancellation or ter-                               ntrctureswihsuch ildco-
                                  mination of the prior insurance;                                  nin withe areh being-
                                  andinswietearbeg
                                                 (b) haeheben     ov-built;
                                                              osswoud                                      or
                                 eredThelos s o ua e been coy                            (ii) Buildings you acquire by pur-
                                 beed byefths        hinsurane hadtit                          chase or lease at any prem-
                                  beentin efcta hen     the    ats oer                         ises, including those prem-
                                  evm tentcausinguthed ls. w r                                 ises shown in the Declara-
                                                   commttedor ccured.tions.
                    (7) The insurance provided under Para-                        (b) The most we will pay for loss of
                          graph (6) above is part of, and not in                        or damage to newly constructed
                          addition to the limit described in Para-                      buildings or newly acquired build-
                          graph (4) above and is limited to the                         ings under this Additional Cover-
                          lesser of the amount recoverable un-                          age in any one occurrence is
                         der:                                                          $500,000 at each premises.
                         (a) This Additional Coverage up to                   (2) Business Personal Property
                                the applicable Limit of Insurance                 (a) When a Limit of Insurance is
                                under this Coverage Form, as ofshw                                 inteDcatosfr
                                its effective date; orshw                                          inteDcatosfr
                                                                                       Business Personal Property at
                         (b) The prior Forgery or Alteration in-                       any described premises, we will
                                surance, had it remained in ef-                        pay for direct physical loss of or
                                fect.                                                  damage to the following property
                   (8) If you are sued for refusing to pay                             caused by or resulting from a
                        any covered instrument described in                            Covered Cause of Loss:
                        Paragraph (1) above on the basis                               (i) Business Personal Property,
                        that it has been forged or altered, and                               including such property that
                        you have our written consent to de-                                  You newly acquire, at a build-



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                                                                                                       BUSINESSOWNERS


                                 ing you acquire by purchase                               property as a consequence of en-
                                 or lease at any premises, in-                             forcement of the minimum re-
                                 cluding        those      premises                       quirements of any ordinance or
                                 shown in the Declarations;                               law. This increased cost of con-
                                 and                                                      struction coverage applies only if:
                            (ii) Business Personal Property                               (I) The building is insured for re-
                                 that you newly acquire at a                                    placement cost;
                                 described premises.                                      (ii) The building is repaired, re-
                     (b) The most we will pay for loss of                                      built or reconstructed; and
                           or damage to Business Personal                                 (Mi)The repaired, rebuilt or re-
                           Property under this Additional                                      constructed building is in-
                           Coverage in any one occurrence                                      tended for similar occupancy
                           is $250,000 at each premises,                                       as the current building,
                (3) Period Of Coverage                                                         unless otherwise required by
                    (a) With respect to insurance under                                        zoning or land use ordinance
                          this Additional Coverage, cover-                                     or law.
                          age will end when any of the fol-                    (2) The ordinance or law referred to in
                          lowing first occurs:                                     this Additional Coverage is an ordi-
                         (i) This policy expires;                                  nance or Law that:
                         (ii) 180 days expire after you ac-                        (a) Regulates the demolition, con-
                                quire the property or begin to                            struction or repair of buildings, or
                                construct the property;                                  establishes zoning or land use
                                                                                                           at the described
                                              (iii
                                              (iii      t us
                                                       tYo
                                                      Yo  usreortvalus
                                                               orrequirements
                                                             reortvalus
                                                               orpremises;                            and
                         (iv) The property is more specifi-                        (b) Is in force at the time of the loss.
                                cally insured.
                                          haree wll
                                         (b)       yo aditinal(3)                  We will not pay under this Additional
                        premium       for   values  reported   to usCoeaefr
                        from the date construction begins                          (a) Loss due to any ordinance or law
                        or you acquire the property.                                     that:
            k. Ordinance or Law                                                          (i) You were required to comply
                                       f(1)   n te evnt
                                          daageby        aCovredwith                                 before the loss, even if
                   Cause of Loss to a building that isthbuligwsndme;
                   Covered Property, we will pay for:                                         and
                   (a) Loss in value of the undamaged                                   (ii) You failed to comply with; or
                        portion of the building as a con-                         (b) Costs associated with the en-
                        sequence of enforcement of the                                  forcement of any ordinance or
                        minimum requirements of any or-                                 law that requires any insured or
                       dinance or law that requires the                                others to test for, monitor, clean
                       demolition of undamaged parts of                                 up, remove, contain, treat, detox-
                       the same building;                                               ify or neutralize, or in any way re-
                                          (b) emoltioncos,
                                                   meningthespond                                to, or assess the effects of
                       cost to demolish and clear the"pluat.
                       site of undamaged parts of the                         (4) Paragraph B.11.a. does not apply to
                      same building as a consequence                              this Additional Coverage.
                      of enforcement of the minimum                           (5) Subject to the limit described in
                      requirements of any ordinance or                            Paragraph (6) below:
                      law that required demolition of                             (a) The insurance provided under
                      such undamaged property; and                                     this Additional Coverage for loss
                  (c) The increased cost of construc-                                  in value to the undamaged por-
                      tion, meaning the increased cost                                 tion of the building is limited as
                      to repair, rebuild or construct the                             follows:


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                           (i) If Replacement Cost Cover-               (6) The most we will pay for loss under
                                  age applies and the building              this Additional Coverage for the total
                                  is repaired or replaced on the            of all coverages described in Para-
                                 same or another premises,                  graph (1) above in any one occur-
                                 we will not pay more than the              rence is $25,000 at each described
                                 lesser of:                                 premises.
                                 a) The amount you actually          I. Outdoor Trees, Shrubs, Plants and
                                        spend to repair, rebuild        Lawns
                                        or reconstruct the un-
                                        damaged portion of the           (1) We will pay for direct physical loss of
                                        building; or                         or damage to outdoor trees, shrubs,
                                b) The amount it would cost                  plants (other than "Stock" of trees,
                                       to restore the undam-                 shrubs or plants) and lawns located
                                       aged portion of the build-            at the described premises caused by
                                                     ing
                                                      sae npem-or
                                                            te                  resulting from a Covered Cause of
                                       ises and to the sameLos
                                       height, floor area, style        (2) The most we will pay for loss or dam-
                                      and comparable quality                 age under this Additional Coverage in
                                      of the original undam-                any one occurrence is $3,000 at each
                                      aged portion of the build-            described premises.
                                      ing; or                           (3) Debris removal, because of covered
                         (Hi)If Replacement Cost Cover-                     loss or damage to outdoor trees,
                               age applies and the building                 shrubs, plants and lawns, is included
                               is not repaired or replaced, or              within the limits described in Para-
                               if Replacement Cost Cover-                   graph (2) above.
                              age does not apply, we will
                              not pay more than the actual          m. Pollutant Cleanup and Removal
                              cash value of the undamaged              (1) We will pay your necessary and rea-
                              portion of the building at the                sonable expense to extract "pollut-
                              time of loss.                                ants" from land or water at the de-
                   (b) We will not pay more for demoli-                    scribed premises, if the discharge,
                        tion costs than the amount you                     dispersal, seepage, migration, re-
                        actually spend to demolish and                     lease or escape of the "pollutants" is
                        clear the site of the described                    caused by or results from a "specified
                        premises.                                          cause Of loss" which occurs:
                   (c) The insurance provided under                        (a) At the described premises;
                       this Additional Coverage for in-                    (b) To covered Property; and
                       creased cost of construction is
                       limited as follows:                                   (c) During the Policy period.
                       (i) If the building is repaired or               (2) The expenses will be paid only if they
                             replaced at the same prem-                      are reported to us in writing within
                             ises, or if you elect to rebuild                180 days of the date on which the
                             at another premises, the                       ".specified cause of loss" occurs.
                             most we will pay is the in-                (3) This Additional Coverage does not
                             creased cost of construction                   apply to costs to test for, monitor or
                             at the same premises; or                       assess the existence, concentration
                      (Hi)If the ordinance or law re-                       or effects of "pollutants". But we will
                            quires relocation to another                    pay for testing which is performed in
                            premises, the most we will                      the course of extracting the "pollut-
                            pay is the increased cost of                    ants" from the land or water.
                             cos trcinsttene.r m                       (4) The most we will pay under this Addi-
                                               ises.tional                          Coverage is $25,000 for the
                                                                           sum of all covered expenses arising



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                                                                                                     BUS INESSO WNERS


                        out of all Covered Causes of Loss                             (a) Caused by or resulting from a
                        occurring during each separate 12                                 Covered Cause of Loss;
                        month period of this policy beginning                         (b) Up to $50,000 at each temporary
                        with the effective date of this policy,                           location in any one occurrence;
                        This amount applies regardless of the                             and
                        number of premises involved.                                  (c) During the storage period of up to
             n. Preservation of Property                                                  90 consecutive days but not be-
                 (1) If it is necessary to move Covered                                   yond expiration of this policy.
                       Property from the described premises                    (2) This Additional Coverage does not
                       to preserve it from loss or damage by                         apply if the stored property is more
                       a Covered Cause of Loss, we will pay                          specifically insured.
                       for:                                               p. Water Damage, Other Liquids, Powder
                       (a) Any direct physical loss of or                      or Molten Material Damage
                             damage to such property while:                    (1) If loss or damage caused by or result-
                             (i) Being moved; or                                     ing from covered water or other liq-
                             (ii) Temporarily stored at another                      uid, powder or molten material dam-
                                   location only if the loss or                     age occurs, we will also pay the cost
                                  damage occurs within 90                           to tear out and replace any part of the
                                  days after the property is first                  building or structure to repair damage
                                  moved; and                                        to the system or appliance from
                      (b) The costs incurred to:                                    which the water or other substance
                            (i) Remove such property from                           escapes.
                                  the described premises; and                 (2) We will not pay the cost to repair any
                                                 popery suh
                                             (ii)Retun    tothedefect                        to a system or appliance from
                                    eturni suc pr e rtyoeth
                                  di)                                               which the water, other liquid, powder
                                                descibedpremses.or molten material escapes. But we
                (2) Coverage under this Additional Coy-                             will pay the cost to repair or replace
                     erage will end when any of the follow-                         damaged parts of fire extinguishing
                     ing first occurs:                                             equipment if the damage:
                     (a) When the policy is amended to                             (a) Results in discharge of any sub-
                            provide insurance at the new lo-                             stance from an automatic fire pro-
                            cation;                                                      tection system; or
                     (b) The property is returned to the                           (b) Is directly caused by freezing.
                            original described premises;                      (3) Payments under this Additional Coy-
                    (c) 90 days expire after the property                          erage are subject to and not in addi-
                           is first moved; or                                      tion to the applicable Limit of Insur-
                    (d) This policy expires.                                       ance.
               (3) Payments under this Additional Coy-                7. Coverage Extensions
                    erage are subject to and not in addi-                Unless otherwise stated, payments made un-
                    tion to the applicable Limit of Insur-               der the following Coverage Extensions are
                    ance.                                                subject to and not in addition to the applicable
           o. Temporary Relocation of Property                           Limits of Insurance.
              (1) If Covered Property is removed from                    a. Accounts Receivable
                   the described premises and stored                         (1) When a Limit of Insurance is shown
                   temporarily at a location you own,                             in the Declarations for Business Per-
                   lease or operate while the described                           sonal Property at the described prem-
                   premises is being renovated or re-                             ises, YOU may extend that insurance
                   modeled, we will pay for direct physi-                         to apply to loss, as described in
                  cal loss of or damage to that stored                            Paragraph (2) below, due to direct
                  property:                                                       physical loss of or damage to your



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                        records of accounts receivable (in-              (g) Paragraph B.I.f. War and Military
                        cluding those on electronic data                     Action;
                        processing media) caused by or re-               (h) Paragraph B.I.g. Water;
                        sulting from a Covered Cause of()PagrpB.h.Nletan
                        Loss. Credit card company media will(iPagrp                         .h N letan
                        be considered accounts receivable                (j) Paragraph B.2.g.
                        until delivered to the credit card com-          No other exclusions in Paragraph B.
                        pany.                                            Exclusions apply to this Coverage
                    (2) We will pay for:                                Extension. However, if any exclu-
                                         (a)dell fom  yur us-sions
                                                   mouns                       are added by endorsement to
                          (a)All er a uts douefrom ynblo cus-           this Coverage Form, such exclusions
                             toe st hao         r nal ocl               will apply to this Coverage Extension.
                         (b) Interest charges on any loan re-                 (4) The most we will pay under this Coy-
                               quired to offset amounts you are                    erage Extension for loss of or dam-
                               unable to collect pending our                       age to records of accounts receivable
                               payment of these amounts;                           in any one occurrence while in transit
                         (c) Collection   expenses  in excess  of                  sribeda  premises ishe
                                                                                                        $25,000.       de
                              your normal collection expenses                      srbdpeie           s$500
                              that are made necessary by the                  (5) The most we will pay under this Cov-
                              loss or damage; and                                  erage Extension for loss of or dam-
                                                     reaonalehatage
                                          (d) thexpenes                                 to records of accounts receivable
                              you incur to re-establish your re-                   in any one occurrence at each de-
                              cords of accounts receivable.                       scribed premises is $25,000 or the
                                                   aplyto hisamount
                                       (3) he ollwingexcusins                               shown in the Declarations for
                     (3) erTh  follow
                                e       n xlsions pl oti                          Accounts Receivable, whichever is
                                          Coveage           xtenion:greater.
                        (a) We will not pay for loss caused                   (6) Payments made under this Coverage
                             by or resulting from bookkeeping,Exesoarinditntoheap-
                             accounting or billing errors or                      cablenLiisofaeinsaine.te ppi
                             omissions;                                           cbeLmt fisrne
                                                fr lss hatre-b.
                                             e wll
                                         ot ay
                                        (b)                                  Appurtenant Buildings and Structures
                             quires an audit of records or any               (1) When a Limit of Insurance is shown
                             inventory computation to prove its                   in the Declarations for Building at the
                            factual existence;                                    described premises, you may extend
                       (c) We will not pay for loss caused                        that insurance to apply to direct
                            by or resulting from alteration,                      Physical loss of or damage to inciden-
                            falsification, concealment or de-                     tal appurtenant buildings or struc-
                            struction of records of accounts                      tures, within 1,000 feet of that de-
                            receivable done to conceal the                        scribed premises, caused by or re-
                            wrongful giving, taking or with-                      suiting from a Covered Cause of
                            holding of money, securities or                       Loss.
                            other property. But this exclusion               (2) When a Limit of Insurance is shown
                            applies only to the extent of the                     in the Declarations for Business Per-
                             wrodngu;iig         aigo       ih                   sonal Property at the described prem-
                                            holding;ises,                                you may extend that insurance
                      (d) Paragraph B.I.b. Earth Move-                           to apply to direct physical loss of or
                            ment;                                                damage to Business Personal Prop-
                      (e) Paragraph B.I.c. Governmental                          erty within incidental appurtenant
                           Action;                                               buildings or structures within 1,000
                         ()Paragraph B.1.d. Nuclear Haz-                         feet of that described premises,
                           ard;                                                  caused by or resulting from a Cov-
                                                                                 ered Cause of Loss.



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                                                                                               BUS INESSOWNERS


                 (3) Incidental appurtenant buildings or                     by chemicals accidentally or mali-
                         structures include:                                 ciously applied to glass.
                         (a) Storage buildings:                       (3) We will also pay for necessary ex-
                                         (b)     arpots;penses                          in connection with loss or
                                         (c)     Gaages;damage                          covered in Paragraphs (1) or
                        (d) Garagoes; o                                     (2) above, incurred by you to:
                                         (d)Pum
                                              or(a) hoses                         Put up temporary plates or board
                        (e) Above ground tanks;                                   up openings;
                        which have not been specifically de-                (b) Repair or replace encasing
                        scribed in the Declarations.                              frames; and
                (4) The most we will pay for loss or dam-                   (c) Remove or replace obstructions.
                       age under this Coverage Extension in          (4) The following exclusions apply to this
                       any one occurrence for any combina-                  Coverage Extension:
                       tion of loss of or damage to Building               ()W          ilntpyfrls            rdm
                       and Business Personal Property is                   ()W           ilntpyfrls            rdm
                       $50,000, regardless of the number of                      age caused by or resulting from:
                       described premises involved.                              (I) Wear and tear;
                (5) Payments made under this Coverage                            (ii) Hidden or latent defect;
                       Extension are in addition to the appli-                   (III) Corrosion; or
                       cable Limits of Insurance.                                (iv) Rust;
             c. Building Glass                                             (b) Paragraph B.l.b. Earth Move-
                  (If:                                                           ment;
                      (a) You are the building owner; and                  (c) Paragraph El.l.c. Governmental
                      (b) A Limit of Insurance is shown in                      Action;
                            the Declarations for Building at              (d) Paragraph B.1.d. Nuclear Haz-
                            the described premises;                             ard;
                     you may extend that insurance to ap-                 (e) Paragraph B.1J. War and Military
                     ply to direct physical loss of or dam-                     Action; and
                     age to all exterior and interior building            ()Paragraph B.1.g. Water.
                     glass caused by or resulting from a
                                       Coveedf Lss,
                                                 Cuse ncluingNo                 other exclusions in Paragraph B.
                     glass breakage and damage to glassExlsosapytthsCvrg
                     by chemicals accidentally or mali-                   Extension. However, if any exclu-
                                       ciouly
                                       t glss.sions
                                                  ppled                             are added by endorsement to
                                       ciouly
                                       t glss.thisppled                         Coverage Form, such exclusions
               (2) If:                                                    will apply to this Coverage Extension.
                    (a) You are a tenant;                        d. Business Income and Extra Expense
                    (b) A Limit of Insurance is shown in            From Dependent Property
                           the Declarations for Building or         (1) When the Declarations show that you
                           Business Personal Property at                 have coverage for Business Income
                           the described premises; and                   and Extra Expense, you may extend
                   (c) You are contractually obligated to                that insurance to apply to the actual
                          repair or replace building glass at            loss of Business Income you sustain
                          the described premises;                       and reasonable and necessary Extra
                   you may extend that insurance to ap-                 Expense you incur due to the 'sus-
                  ply to direct physical loss of or dam-                pension" of your "operations" during
                  age to all exterior and interior building             the "period of restoration". The "sus-
                  glass caused by or resulting from a                   pension" must be caused by direct
                  Covered Cause of Loss, including                      physical loss or damage at the prem-
                  glass breakage and damage to glass                    ises of a Dependent Property, caused



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                           by or resulting from a Covered Cause                (4) This Coverage Extension:
                          of Loss.                                                  (a) Applies to Dependent Property
                     (2) Dependent Property means property                              premises located within the Cov.
                          operated by others whom you de-                               erage Territory; and
                          pend on to:                                               (b) Does not apply when you have
                          (a) Deliver materials or services                             more specific insurance under
                                (other than 'water supply ser-                          any other policy.
                                vices", "communication supply                 (5) We will reduce the amount of your
                                services" or "power supply ser-                    Business Income loss, other than Ex-
                                vices") to you, or to others for                   tra Expense, to the extent you can
                                your account (Contributing Loca-                   resume "operations" in whole or in
                               tions);                                             part, by using any other available:
                         (b) Accept your products or services                      (a) Source of materials; or
                               (Recipient Locations);(bOultfryrpodcs
                         (c) Manufacture products for delivery(bOultfryrpodcs
                               to your customers under contract               (6) The most we will pay for Business In-
                               of sale (Manufacturing Loca-                        come and Extra Expense under this
                               tions); or                                          Coverage Extension in any one oc-
                        (d) Attract customers to your busi-                        currence is $10,000, regardless of
                                              ness(Leaer Lcatins).the                  number of described premises or
                                              ness(Leaer Lcatins).number                    of Dependent Properties in-
                    (3) With respect to this Coverage Exten-                       volved.
                                          sion estoatin":(7)
                                                  th "peiodof                      Payments made under this Coverage
                        (a) Begins 24 hours after the time of                      Extension are in addition to the appli-
                              direct physical loss or damage                      cable Limits of Insurance.
                              caused by or resulting from any
                              Covered Cause of Loss at the                e. Business Income and Extra Expense -
                              premises of the Dependent Prop-                Newly Acquired Premises
                              erty;                                          (1) When the Declarations show that you
                       (b) Ends on the date when the prop-                        have Coverage for Business Income
                              erty at the premises of the De-                     and Extra Expense, you may extend
                              pendent Property should be re-                      that insurance to apply to the actual
                             paired, rebuilt or replaced with                     loss of Business Income you sustain
                             reasonable speed and similar                         and reasonable and necessary Extra
                             quality; and                                         Expense you incur due to the "sus-
                       (c) Does not include any increased                         pension" of your "operations" during
                             period required due to the en-                      the "period of restoration". The "sus-
                             forcement of any ordinance or                       pension" must be caused by direct
                            law that:                                            physical loss or damage caused by or
                                             (i)    egultesthe
                                                      onsructon,resulting                   from a Covered Cause of
                                   use or repair, or requires the                Ls taypeie                o el c
                                                 tearng
                                                    ay popety;quire
                                                          ownof                          by purchase or lease (other
                                   terin    o no n rpry                          than at fairs, trade shows or exhibi-
                          (ii) Requires any insured or oth-                        tions).
                               ers to test for, monitor, clean                (2) The most we will pay under this Cov-
                               up, remove, contain, treat,                         erage Extension for the sum of Busi-
                               dletoxify or neutralize, or in                      ness Income and Extra Expense you
                               any way respond to, or as-                          incur in any one occurrence is
                               sess the effects of "pollut-                       $250,000 at each newly acquired
                               ants".                                             premises.
                                                                              (3) Insurance under this Coverage Ex-
                                                                                  tension for each newly acquired



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                      premises will end when any of the f'ol-             (11Otherwise covered under the
                      lowing first occurs:                                     Fine Arts Additional Coverage; or
                      (a) This policy expires;                            (g) Otherwise covered under the fol-
                      (b) 90 days expire after you acquire                    lowing Coverage Extensions:
                          that premises;                                      (I) Accounts Receivable;
                      (c) You report that premises to us; or                  (ii) Electronic Data Processing;
                     (d) The Business Income or Extra                         (III) Personal Effects; or
                          Expense is more specifically in-                    (iv) Valuable Papers and Re-
                          sured.                                                    cords.
                     We will charge you additional pre-           g. Civil Authority
                     mium for premises reported from the()WhnteDcatissowhtyu
                     date you acquire that premises.(1WhnteDcatissowhtyu
                                                                         have coverage for Business Income
                 (4) Payments made under this Coverage                   and Extra Expense, you may extend
                     Extension are in addition to the appli-             that insurance to apply to the actual
                     cable Limits of Insurance.                          loss of Business Income you sustain
             f. Business Personal Property Off Prem-                     and reasonable and necessary Extra
                                   ises                                  Expense you incur caused by action
                (1) When a Limit of Insurance is shown                  of civil authority that prohibits access
                    in the Declarations for Business Per-               to the described premises. The civil
                                      sona
                                      a thedesribd
                                           Prpery pem-authority                      action must be due to direct
                    ises, you may extend that insurancephsclosofrda                                  getpo-
                    to apply to direct physical loss of or              erty at locations, other than described
                    damage to such property caused by                   premises, that are within 100 miles of
                    or resulting from a Covered Cause of                the described premises, caused by or
                                     Loss hile:resulting                             from a Covered Cause of
                    (a) In the course of transit to or fromLos
                         the described premises; or                (2) The coverage for Business Income
                                     (b)way    romthede-will
                                          emprarly                           begin 24 hours after the time of
                        scribTemprr i     a nfod te:e                   that action and will apply for a period
                                        scriednd:of
                                                  pemies,                  three consecutive weeks after coy-
                        (i) At a premises you do not                    erage begins.
                             own, lease or operate; or             (3) The coverage for Extra Expense will
                        (III At any fair, trade show or ex-             begin immediately after the time of
                             hibition at a premises you do             that action and will end when your
                             not own or regularly occupy.               Business Income coverage ends for
               (2) This Coverage Extension does not                    this Coverage Extension.
                   apply to property:                          h. Electronic Data Processing
                   (a) While in the custody of the United         (1) When a Limit of Insurance is shown
                       States Postal Service;                          in the Declarations for Business Per-
                  (b) Rented or leased to others;                      sonal Property at the described prem-
                  (c) After delivery to customers;                     ises, you may extend that insurance
                  (d) In the care, custody or control of              doaage to "ElectronicData Poss-o
                       your salespersons, unless thedaaet"EcroiDtaPcs-
                       property is in such care, custody              ing Equipment" and to "Electronic
                       or control at a fair, trade show or            Data Processing Data and Media",
                      exhibition;                                     caused by or resulting from a Cov-
                  (e) Temporarily at a premises forerdCueoLs.
                      more than 60 consecutive days,              (2) Worldwide coverage is provided un-
                      except "money" and "securities"                 der this Coverage Extension. The
                      at a "banking premises";                        coverage territory as described in


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                         Paragraph F.8.b. does not apply to                                   deficiency in design, installa-
                         this Coverage Extension.                                             tion, maintenance, repair or
                                                  his oveage
                                             (3) xteniondoesnotmodification                                  of your computer
                      (3) thi oveae Etnin de:o                                                system or any computer sys-
                                                appl       to:tem                                   or network to which your
                         (a) "Stock"; or                                                      system is connected or on
                         (b) Property that is leased or rented                               which your system depends
                               to others.                                                     (including electronic data) re-
                                                             asde-sults
                                            (4) he olloingexclsios                                   in a "Specified cause of
                                            (4)     he olloingexclsios
                                                             asde-loss"                               or mechanical break-
                         scribed in Paragraph B. Exclusions                                  down Of "Electronic Data
                         do not apply to this Coverage Exten-                                Processing Equipment", we
                         sion:                                                               will pay for the loss or dam-
                        (a) Paragraph I.e. Utility Services;                                 age caused by that "specified
                                               (b) orcause
                                                      aragaph2.a.                                     of loss" or mechanical
                                               (b)Paagaph2..;orbreakdown                                      of "Electronic
                        (c) Paragraph 2.d.(6).                                               Data Processing Equipment";
                    (5) The following additional exclusions                              (Nv)Unexplained or indetermin-
                        apply to this Coverage Extension:                                    able failure, malfunction or
                        (a) We will not pay for loss or dam-                                 slowdown of a computer sys-
                              age caused by or resulting from                                tem, including "Electronic
                              any of the following:                                          Data Processing Data and
                              (i) Programming errors, omis-                                  Media" or the inability to ac-
                                     sions or incorrect instructions                         "Eectr ro Dat l             esn
                                                                                                                        uat
                                     to a machine. But if pro-"Eeti                                  Data
                                                                                                     ndoeia";no
                                     gramming errors, omissionsDaandM                                        i";o
                                     or incorrect instructions to a                     (v "Electronic Vandalism" ex-
                                     machine results in a "speci-                            cept as provided in Para-
                                     fled cause of loss" or me-                              graph (9) below.
                                     chanical breakdown of "Elec-              (6) The most we will pay under this Coy-
                                     tronic     Data    Processing                 erage Extension for loss of or dam-
                                     Equipment", we will pay for                   age to "Electronic Data Processing
                                    the loss or damage caused                      Equipment" and to "Electronic Data
                                    by that "specified cause of                    Processing Data and Media", while in
                                    loss" or mechanical break-                     transit or at a premises other than the
                                   down of "Electronic Data                        described premises, in any one oc-
                                    Processing Equipment";                         currence, is $25,000.
                             (ii) Unauthorized viewing, copy-                 ()Tems             ewl a ne hsCv
                                   ing or use of "Electronic Data             ()Tems             ewl a ne hsCv
                                   Processing Data and Media"                      erage Extension for loss of or dam-
                                   (or any proprietary or confi-                   age to duplicates of your "Electronic
                                   dential information or intellec-                Data Processing Data and Media"
                                  tual property) by any person,                   while stored at a separate premises
                                  even if such activity is char-                  from where your original "Electronic
                                  acterized as "theft";                            Data Processing Data and Media" are
                            (iii) Errors or deficiency in design,                 kept, in any one occurrence, is
                                  installation, maintenance, re-                  $25,000.
                                  pair or modification of your                (8) The most we will pay under this Cov-
                                  computer systems or any                         erage Extension for loss or damage
                                  computer system or network                      to "Electronic Data Processing Equip-
                                 to which your system is con-                     ment", including such property you
                                  nected or on which your sys-                    newly acquire in any One occurrence
                                 tem depends (including elec-                     is $25,000 at each newly acquired
                                 tronic data). But if errors or                   premises. With respect to insurance



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              under this Coverage Extension on           time and are the result of the same
              newly acquired "Electronic Data            cause will also be considered one
              Processing Equipment", coverage will       "breakdown".
              end when any of the following first    (2) Under this Coverage Extension, the
              occurs:                                    following coverages also apply:
              (a) This policy expires;                   a Expediting Expenses




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                                                                                               BUS INESSOWNEIRS


                        under this Coverage Extension on                    time and are the result of the same
                        newly acquired "Electronic Data                     cause will also be considered one
                       Processing Equipment", coverage will                 "breakdown".
                       end when any of the following first              (2) Under this Coverage Extension, the
                       occurs:                                              following coverages also apply:
                       (a) This policy expires;                             (a) Expediting Expenses
                       (b) 180 days expire after you acquire                      (I) In the event of direct physical
                           the "Electronic Data Processing                              loss of or damage to Covered
                           Equipment"; or                                              Property caused by or result-
                       (c) You report values to us.                                    ing from a "breakdown" to
                  (9) The most we will pay under this Coy-                             "'covered equipment", we will
                                         fr losExensin
                                        erag     o or am-pay                                 for the reasonable addi-
                      age to "Electronic Data Processing                               toa xessyuncs
                      Data and Media" caused by or result-                             sarily incur to make tempo-
                      ing from "electronic vandalism", in                              tharmaen     repair   or e-t
                      any one occurrence is $25,000, re-                               tplaement ofrtei lot r
                      gardless of the number of the number                            dlacmedtCoverted Prsopr
                      of premises involved. Such limit alsoda                                 geCordPopty
                      applies to any otherwise covered loss                      (Hi)Expediting expenses include
                      of Business Income or Extra Ex-                                 overtime wages and the extra
                                        pense.cost                                          of express or other rapid
                   (1)Tens        ewl pyudr hsCv                                      means of transportation.
                   (10) aTe mostwesow ol ayosund r hi aCo-                      (iii) The most we will pay under
                       age t Etsoni for lossa oor sdam                                this Coverage Extension for
                      agient to n"Electronic Data   oesn                              all Expediting Expenses aris-
                      Pe imng t" and o "Eectoic atah                                  ing out of any one "break-
                                       Procssig
                                         ad Mdia"Daa atthedown"                                is $25,000. This limit is
                     described premises, in any one oc-                               part of and not in addition to
                     currence, is the Limit of Insurance                              the Limit of Insurance that
                     shown in the Declarations for Busi-                              applies to lost or damaged
                     ness Personal Property at such                                   Covered Property.
                     premises or $50,000, whichever is                     (b) "Pollutants"
                     less,
                                L Eqipmnt Beakown(i)                                 In the event of direct physical
                                                                                    loss of or damage to Covered
                (1) When a Limit of Insurance is shown                               Property caused by or result-
                     in the Declarations for Building or                            ing from a "breakdown" to
                     Business Personal Property at the                              "covered equipment", we will
                     described premises, you may extend                             pay for the additional cost to
                     that insurance to apply to direct                              repair or replace Covered
                     physical loss of or damage to Coy-                             Property because of con-
                    ered Property at the described prem-                            tamination by "pollutants".
                    ises caused by or resulting from a                              rhis includes the additional
                    "breakdown" to "covered equipment'.                             expenses to clean up or dis-
                                                                                    pose of such property. Addi-
                    With respect to otherwise covered                               tional costs mean those be-
                    Business Income and Extra Expense,                              yond what would have been
                    "breakdown" to "covered equipment"                              required had no "pollutants"
                    will be considered a Covered Cause                              been involved.
                                       of   Loss.(ii)                               The most we will pay under
                    If an initial "breakdown" causes other                          this Coverage Extension for
                   "breakdowns", all will be considered                             loss or damage to Covered
                   one "breakdown". All "breakdowns"                                 Property caused by contami-
                   that manifest themselves at the same                             nation by "Pollutants" arising


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                                  out of any one "breakdown"                 (c) Paragraph 2.e.
                                  is $25,000. This limit is sub-         (7) With respect to this Coverage Exten-
                                  ject to and not in addition to             sion, the following condition is added
                                  the Limit of Insurance that                to Paragraph F. Commercial Property
                                  applies to lost or damaged                 Conditions:
                                  Covered Property.
                       (c) Service Interruption                              Suspension
                            When the Declarations show that                  If any "covered equipment" is found
                           you have coverage for Business                    to be in, or exposed to a dangerous
                            Income and Extra Expense, you                    condition, any of our representatives
                           may extend that insurance to ap-                  may immediately suspend the insur-
                           ply to loss caused by or resulting                ance provided by this Coverage Form
                           from a "breakdown" to equipment                   for loss or damage caused by or re-
                           that is owned, operated or con-                   suiting from a "breakdown" to that
                           trolled by a local public or private              "covered equipment". This can be
                           utility or distributor that directly             done by delivering or mailing a notice
                           generates, transmits, distributes                 of suspension to:
                           or provides the following utility                 1. Your last known address; or
                                            servces:2.                            The address where the "covered
                           (I) "Water Supply Services';                           equipment" is located.
                          (ii) "Communication Supply Ser-                   Once suspended in this way, such in-
                                 vices"; or                                 surance can only be reinstated by a
                          (iii) "Power Supply Services".                    written endorsement issued by us. If
                 (3) We will not pay under this Coverage                    we suspend your insurance, you will
                      Extension for loss or damage caused                   get a pro rata refund of premium for
                     by or resulting from any of the follow-                that "Covered equipment". But the
                     ing tests:                                             suspension will be effective even if
                                              hyrosttic orgaswe
                                         (a) pnematc                             have not yet made or offered a re-
                          pressure test of any boiler orfud
                          pressure vessel; or                           (8) The most we will pay under this Coy-
                    (b) An insulation breakdown test of                     erage Extension for all direct physical
                          any type of electrical equipment.                 loss of or damage to:
                (4) We will not pay under this Coverage                     (a) "Diagnostic Equipment";
                    Extension for loss or damage caused                     (b) "Power Generating Equipment";
                    by or resulting from a change in:                           or
                    (a) Temperature; or                                     (c) "Production Equipment";
                    (b) Humidity;                                           caused by or resulting from a "break-
                    as a consequence of "breakdown" to                      down" to "covered equipment" in any
                                        .'coere equpmet".one                    occurrence is $100,000.
               (5) The following limitations in Paragraph     j  nerpino optrOeain
                    A.5. do not apply to this Coverage          (1) When the Declarations show that you
                    Extension:                                       have coverage for Business Income
                                  (a).(2) aragaph
                                          andand                         Extra Expense, you may extend
                                  (a)
                                    .(2) andthat
                                           aragaph                       insurance to apply to a "suspen-
                   (b) Paragraph a.(3).                             sion" of "operations" caused by an in-
               (6) The following exclusions in Para-                terruption of computer operations due
                   graph B. Exclusions do not apply to              to direct physical loss of or damage
                   this Coverage Extension:                         to "Electronic Data Processing Data
                   (a) Paragraph 2.a.;                              and Media" at the described premises
                                  (b) araraph2.d(6);andcaused                 by or resulting from a Coy-
                                  (b) araraph2.d(6);andered Cause of Loss.



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                   (2) The most we will pay under this Coy-                            or not the motor vehicle or motor-
                         erage Extension is $25,000 for the                            ized conveyance is in motion; or
                         sum of all covered interruptions aris-                  (b) During hitching or unhitching op-
                         ing out of all Covered Causes of Loss                        erations, or when a trailer or
                         occurring during each separate 12                            semi-trailer becomes accidentally
                         month period of this policy beginning                        unhitched from a motor vehicle or
                         with the effective date of this policy,                      motorized conveyance.
                  (3) Payments made under this Coverage                     (3) The most we will pay for loss or dam-
                         Extension are in addition to the appli-                 age under this Coverage Extension in
                         cable Limits of Insurance.                              any one occurrence is $5,000 regard-
             k. Money Orders and Counterfeit Paper                               less of the number of described
                  Currency                                                       premises, trailers or semi-trailers in-
                  When a Limit of Insurance is shown in the                     volved.
                  Declarations for Business Personal Prop-                 (4) This insurance is excess over the
                  erty at the described premises, you may                        amount due (whether you can collect
                  extend that insurance to apply to loss due                    on it or not) from any other insurance
                 to the good faith acceptance of:                               covering such property.
                  (1) Any U.S. or Canadian post office or              rn. Ordinance or Law - Increased Period
                        express money order, issued or pur-                of Restoration
                        porting to have been issued by any                 (1) When:
                        post office or express company, if the                  ()ACvrdCueo                   osocr
                        money order is not paid upon presen-                         to) prCoertyCate          deLosocre
                       tation; or                                                    t      rprya         h      ecie
                                               Sttes r Cna-premises;
                                        (2) ounerfit       Uite                                  and
                    (2)Counn erit rUnd Sttsyr Ca a                              (b) The Declarations show that you
                                           dian apercurrncy;have                             coverage for Business In-
                 in exchange for merchandise, "money" or                             come and Extra Expense;
                services or as part of a normal business                       yumyetn htisrnet                         p
                                      transation.ply                                 to the amount of actual loss of
              1.Non-Owned Detached Trailers                                     Business Income you sustain and
                (1) When a Limit of Insurance is shown                         reasonable and necessary Extra Ex-
                       in the Declarations for Business Per-                   pense you incur during the increased
                       sonal Property at the described prem-                   period of "suspension" of "operations"
                      ises, you may extend that insurance                      caused by or resulting from the en-
                      to apply to direct physical loss of or                   forcement of any ordinance or law
                      damage to trailers or semi-trailers                      that:
                      that you do not own, provided that:                      (a) Regulates the construction, repair
                      (a) The trailer or semi-trailer is used                       or replacement of any property;
                            in your business;                                  (b) Requires the tearing down or re-
                      (b) The trailer or semi-trailer is in                         placement of any parts of prop-
                           your care, custody or control at                         erty not damaged by a Covered
                           the described premises; and                              Cause of Loss; and
                     (c) You have a contractual responsi-                      (c) Is in force at the time of loss.
                           bility to pay for loss of or damage            (2) This Coverage Extension applies only
                           to the trailer or semi-trailer,                    to the period that would be required,
               (2) We will not pay for loss or damage                         with reasonable speed, to recon-
                     that occurs:                                             struct, repair or replace the property
                     (a) While the trailer or semi-trailer is                 to comply with the minimum require-
                           attached to any motor vehicle or                   ments of the ordinance or law.
                           motorized conveyance, whether                  (3) This Coverage Extension does not
                                                                              apply to:



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                      (a) Loss due to an ordinance or law                   to apply to direct physical loss of or
                           that:                                            damage to personal effects owned
                          (I) You were required to comply                   by:
                                with before the loss, even if               (a) You; or
                                the property was undam-                     (b) Your officers, partners, "mem-
                                aged; and                                       bers", "managers", "employees",
                          (ii) You failed to comply with; or                    directors or trustees;
                     (b) Costs associated with the en-                      caused by or resulting from a Coy-
                         forcement of any ordinance or                      ered Cause of Loss.
                         law that requires any insured or
                         others to test for, monitor, clean             (2) Such property must be located at a
                         up, remove, contain, treat, detox-                 described premises.
                         ify or neutralize, or in any way re-           (3) The most we will pay for loss or dam-
                         spond to, or assess the effects of                 age under this Coverage Extension in
                         ..pollutants".                                     any one occurrence is $25,000 at
                (4) Paragraph B.1.a., does not apply to                     each described premises.
                     this Coverage Extension.                          (4) Payments under this Coverage Ex-
                (5) The most we will pay for loss under                     tension are in addition to the applica-
                    this Coverage Extension in any one                      ble Limits of Insurance.
                    occurrence is $25,000 at each de-               p. Signs
                    scribed premises.                                  (1) If:
               (6) Payments made under this Coverage                        (a) You are the building owner; and
                    Extension are in addition to the appli-                 ()ALmto nuac ssoni
                    cable Limits of Insurance.                              ()ALmto          nuac ssoni
                               n. Otdoo Proertythe                                   Declarations for Building;
                                       hena Lmits sownat
                                 (1) f Isurnce                                 the described premises, you may
                 ( i)When Darm itonsufrance li s g own                     extend that insurance to apply to di-
                    B ntes elratonsl froprtBuldn        ore                rect Physical loss of or damage to
                                    BusiessPerona
                                          Proert attheoutdoor                        signs attached to the build-
                    described premises, you may extend                     ing, or on or within 1,000 feet of the
                   that insurance to apply to direct                       described Premises, caused by or re-
                   physical loss of or damage to the fol-                  sulting from a Covered Cause of
                   lowing types of outdoor property at                     Loss.
                   that described premises caused by or
                   resulting from a Covered Cause of                   (2) If:
                   Loss:                                                   (a) You are a tenant;
                   (a) Radio or television antennas (in-                   (b) A Limit of Insurance is shown in
                        cluding microwave or satellite                          the Declarations for Business
                        dishes) and their lead-in wiring,                        Personal Property; and
                        masts or towers; or                                (c) You own or are contractually ob-
                  (b) Bridges, walks, roadways, patios                          ligated to repair or replace out-
                        and other paved surfaces,                               door signs;
              (2) The most we will pay for loss or dam-                    at the described premises, you may
                  age under this Coverage Extension in                     extend that insurance to apply to di-
                  any one occurrence is $10,000 at                        rect physical loss of or damage to
                  each described premises.                                outdoor Signs attached to the build-
           o. Personal Effects                                            ing, or on or within 1,000 feet of the
                                                                          described premises, caused by or re-
               (1) When a Limit of Insurance is shown                     suiting from a covered Cause of
                    in the Declarations for Business Per-                 Loss.
                   sonal Property at the described prem-
                   ises, you may extend that insurance



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                                                                                                 BUSINESSOWNERS

              q. Spoilage - Consequential Loss                                     service of such non-owned build-
                  (1) When a Limit of Insurance is shown                            ig
                         in the Declarations for Business Per-          (2) We will not pay under this Coverage
                         sonal Property at the described prem-               Extension for loss or damage:
                         ises, you may extend that insurance                 (a) Caused by or resuiting from fire
                         to apply to consequential loss to your                    or explosion; or
                         Business Personal Property caused(bTogasotethnlssuid
                         by a change in:(bTogas(tethnlssuid
                                                                                   ing blocks) or to any lettering, or-
                         (a) Temperature; or                                       namentation or burglar alarm
                        (b) Humidity;                                              tape on glass.
                        caused by or resulting from a Coy-             (3) This Coverage Extension applies only
                        ered Cause of Loss to any of the fol-                if you are a tenant and you are con-
                        lowing types of equipment situated                  tractually obligated to insure this ex-
                        within the building at the described                posure.
                        premises:                                  s. Valuable Papers and Records
                        (a) Refrigerating;                             (1) When a Limit of Insurance is shown
                        (b) Cooling;                                        in the Declarations for Business Per-
                                       (c) Hmidifing;sonal                            Property at the described prem-
                                       (c) Hmidifing;ises,                           you may extend that insurance
                       (d) Air-conditioning;                                to apply to direct physical loss of or
                       (e) Heating;                                         damage to "valuable papers and re-
                       (f) Generating or converting power;                  cords", that:
                             or                                             (a) You own; or
                       (g) Connections, supply or transmis-                 (b) Are owned by others, but in your
                            sion lines and pipes associated                       care, custody or control;
                            with the above equipment.                      caused by or resulting from a Coy-
                 (2) With respect to this Coverage Exten-                  ered Cause of Loss.
                      sion, "breakdown" to "covered equip-            (2) This Coverage Extension includes
                      ment" will not be considered a Coy-                  the cost to research, replace or re-
                      ered Cause of Loss, even if otherwise                store the lost information on "valuable
                      covered elsewhere in this Coverage                   papers and records" for which dupli-
                      Form.                                                cates do not exist.
                (3) Paragraphs           B.2.d.(7)(a)      and        (3) The following exclusions apply to this
                      11.2.d.(7)(b) do not apply to this Coy-              Coverage Extension:
                      erage Extension.                                     (a) We will not pay for any loss or
            r. Theft Damage to Rented Property                                   damage to "valuable papers and
                (1) When a Limit of Insurance is shown                           records" caused by or resulting
                     in the Declarations for Business Per-                       from any errors or omissions in
                     sonal Property at the described prem-                       processing or copying. But if er-
                     ises, you may extend that insurance                         rors or omissions in processing or
                    'to apply to direct physical loss of or                      copying results in fire or explo-
                     damage to the following caused by or                        sion, we will pay for the resulting
                    resulting by "theft" or attempted                            loss or damage caused by that
                    "theft":                                                     fire or explosion.
                    (a) That part of a building you oc-                   (b) Paragraph B.1.b. Earth Move-
                           cupy, but do not own, which con-                      ment;
                           tains Covered Property; and                    (c) Paragraph B.1.c. Governmental
                    (b) Property within such non-owned                           Action;
                           building used for maintenance or               (d) Paragraph B.1.d. Nuclear Haz-
                                                                                 ard;


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                        (e) Paragraph B.l.f. War and Military               (a) An ordinance or law that is en-
                             Act ion;                                           forced even if the property has
                           ()Paragraph B.1.g. Water;                             not been damaged; or
                        (g) Paragraph B.1.h. Neglect; and                   (b) The increased costs incurred to
                                          (h) Pragrph B2.g.comply                            with an ordinance or law
                                          (h) Pragrph B2.g.in                      the course of construction, re-
                       No other exclusions in Paragraph B.                      pair, renovation, remodeling or
                       Exclusions apply to this Coverage                        demolition of property, or removal
                       Extension. However, if any exclu-                        of its debris, following a physical
                       sions are added by endorsement to                        loss to that property.
                       this Coverage Form, such exclusions        b. Earth Movement
                       will apply to this Coverage Extension.         (1) Earthquake, including any earth sink-
                  (4) The most we will pay under this Coy-                 ing, nsing or shifting related to such
                       erage Extension for loss of or dam-                 event;
                       age to "valuable papers and records"           (2) Landslide, including any earth sink-
                      in any one occurrence while in transit               ing, rising or shifting related to such
                      or at a premises other than the de-                  eet
                      scribed premises is $25,000.                         eet
                  (5) The most we will pay under this Coy-           ()Mn          ofaean-m
                                                                                     uidence      ,       in, whether
                      erage Extension for loss of or dam-                  orenot miin activitymas cie,easeor
                      age to "valuable papers and records'                   rntmnn ciiyhscae;o
                      in any one occurrence at each de-              (4) Earth sinking (other than sinkhole col-
                      scribed premises is $25,000 or the                  lapse), rising or shifting including soil
                      amount shown in the Declarations for                conditions which cause settling,
                      Valuable Papers and Records,                        cracking or other disarrangement of
                     whichever is greater.                                foundations or other parts of realty.
                                    (6) aymntsmad
                                          undr tis oveageSoil                    conditions include contraction,
                   (6)Payen s mae n dertis ove a geli                     expansion, freezing, thawing, ero-
                      Eablensiontsare insuadin te te.ppi                  sion, improperly compacted soil and
                                       cabl
                                       Isurace,the
                                              Liits f                          action of water under the ground
     B. EXCLUSIONS                                                        surface;
        1. We will not pay for loss or damage caused di-             all whether naturally occurring or due to
            rectly or indirectly by any of the following,            man made or other artificial causes.
            Such loss or damage is excluded regardless               But if Earth Movement, as described in
            of any other cause or event that contributes            Paragraphs (1) through (4) above results
           concurrently or in any sequence to the loss,             in fire or explosion, we will pay for the
           These exclusions apply whether or not the                loss or damage caused by that fire or ex-
           loss event results in widespread damage or               plosion.
           affects a substantial area.
                                    Odinace o
                              a. Law(5)                                  Volcanic eruption, explosion or effu-
                                                                          sion. But if volcanic eruption, expio-
                (1) The enforcement of any ordinance or                  sion or effusion results in fire or vol-
                    law:                                                 canic action, we will pay for the loss
                    (a) Regulating the construction, use                 or damage caused by that fire or vol-
                         or repair of any property; or                   canic action.
                    (b) Requiring the tearing down of any                Volcanic action means direct loss or
                         property, including the cost of                 damage resulting from the eruption of
                         removing its debris.                            a volcano, when the loss or damage
               (2) This exclusion, Ordinance or Law,                     is caused by:
                    applies whether the loss results from:               (a) Airborne volcanic blast or air-
                                                                              borne shock waves;




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                                                                                                BUSINESSOWNERS


                      (b) Ash, dust, or particulate matter;                  governmental authority in hindering
                            or                                              or defending against any of these.
                      (c) Lava flow.                                 g. Water
                      All volcanic eruptions that occur                 (1) Flood, surface water, waves, tides,
                      within any 168-hour period will con-                  tidal waves, overflow of any body of
                      stitute a single occurrence.                          water, or their spray, all whether
                      Volcanic action does not include the                  driven by wind or not;
                     cost to remove ash, dust or parlicu-               (2) Mudslide or mudflow;
                     late matter that does not cause direct             (3) Water or sewage that backs up or
                     physical loss of or damage to Coy-                     oefosfo                ee,dano
                     ered Property.                                         ovump;w or             ee,dano
                             c.     ovenmetalActon(4)                         Water under the ground surface
                 Seizure or destruction of property by or-                    pressing on, or flowing or seeping
                 der of governmental authority,                               through:
                 But we will pay for toss or damage                           (a) Foundations, walls, floors or
                 caused by or resulting from acts of de-                           paved surfaces;
                 struction ordered by governmental au-(bBae                               nt,wthrpvdo
                 thority and done at the time of a fire to(bBae                            nt,w thrpvdo
                 prevent its spread, if the fire would be                         not; or
                 covered under this policy.                                   (c) Doors, windows or other open-
             d. Nuclear Hazard                                                    ings;
                Nuclear reaction or radiation, or radioac-               all whether naturally occurring or due to
                tive contamination, however caused.                      man made or other artificial causes.
                But if nuclear reaction or radiation, or ra-             But if Water, as described in Paragraphs
                dioactive contamination results in fire, we              (1) through (4) above results in fire, ex-
                                     or amae cuse byplosion
                                willpayforthelos                                  or sprinkler leakage, we will pay
                 wilh
                    a f r tels.o a ae asdb                               for the loss or damage caused by that
                           e.     Uilit Sericesfire,                          explosion or sprinkler leakage.
                The failure or fluctuation of power or other       h.Neglectofainuetosersnbl
                utility service supplied to the describedNelcofainudtosersnbe
                       peie,however caused, if the cause              means to save and preserve property
                pr teies,          lcuainocusaa                       from further damage at and after the time
                from the described premises.                          o os
                But if the failure or fluctuation of power or      L     Collapse of Buildings
               other utility service results in a Covered                Collapse of buildings meaning an abrupt
               Cause of Loss, we will pay for the loss or                falling down or caving in of a building or
               damage resulting from that Covered                        any part of a building with the result being
               Cause of Loss.                                            that the building or part of a building can-
           f. War and Military Action                                    not be occupied for its intended purpose.
               (1) War, including undeclared or civil                    (1) This exclusion does not apply to col-
                    war;                                                       lapse of buildings if caused only by
               (2) Warlike action by a military force, in-                     (a) Ar Mspeifie cuefofloss"g        o
                   cluding action in hindering or defend-                          br
                                                                                   A"eaag        idnglss
                                                                                                   of
                                                                                                   aue             o
                   ing against an actual or expected at-brageobuligls;
                   tack, by any government, sovereign                        (b) Decay, insect or vermin damage
                   or other authority using military per-                        thet prshden fof
                                                                                                suhiecay orun-s
                   sonnel or other agents; orthPrsneosuhdcyri-
                                                                                 sect or vermin damage is known
              (3) Insurrection, rebellion, revolution,                           to an insured prior to collapse;
                   usurped power or action taken by



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                          (c) Weight of people or personal                          is not considered to have collapsed
                                property;                                          but is considered to be in a state of
                          (d) Weight of rain that collects on a                    imminent collapse.
                                roof; or                                     (4) With respect to buildings in a state of
                          (e) Use of defective material or                          imminent collapse, we will not pay for
                                methods in construction, remod-                    loss or damage unless the state of
                               eling or renovation if the collapse                 imminent collapse first manifests it-
                               occurs during the course of con-                   self during the Policy period and is
                               struction, remodeling or renova-                    caused only by one or more of the
                               tion; or                                           following which occurs during the pol-
                         Mf Use of defective material or                          icy period:
                               methods in construction, remod-                    (a) A "specified cause of loss" or
                               eling or renovation if the collapse                       breakage of glass;
                               occurs after construction, remod-                  ()Wih            fpol          rproa
                              eling, or renovation is complete                          propWerty;      epeorproa
                              and is caused in part by a causeprety
                              of loss listed in Paragraphs (a)                    (c) Weight of rain that collects on a
                              through (d) above,                                        roof; or
                         In the event collapse results in a                       (d) Use of defective material or
                         Covered Cause of Loss, we will only                            methods in construction, remod-
                         pay for the resulting loss or damage                          eling or renovation if the state of
                         by that Covered Cause of Loss.                                 imminent collapse occurs during
                    (2) We will not pay for loss of or damagethcorefcnsuti,r-
                        to the following types of property, ifmodeling                             or renovation.
                        otherwise covered in this Coverage           2. We will not pay for loss or damage caused by
                        Form under Paragraphs (1)(b)                    or resulting from any of the following:
                        through (I)(f) above, unless the loss           a. Artificially generated electrical current, in-
                        or damage is a direct result of the col-            cluding electric arcing that disturbs elec-
                                         lapseof abuiling:trical                     devices, appliances or wires unless
                       (a) Awnings,     gutters   and   down-                  caused by a "specified cause of loss".
                           spouts;                                             But if artificially generated electrical cur-
                                      (b) utdortlevsionan-rent
                                                 rdioor                             results in fire, we will pay for the loss
                           tennas (including   microwave    or                 o aaecue               yta ie
                           satellite dishes) and their lead-in            b. Delay, loss of use or loss of market.
                           wiring, masts or towers;                       c. Smoke, vapor or gas from agricultural
                       (c) Fences;                                            smudging or industrial operations.
                       (d) Piers, wharves and docks;                      di. (I) Wear and tear;
                      (e) Beach or diving platforms or ap-                    (2) Rust, corrosion, fungus, decay, dete-
                           purtenances;                                            rioration, wet or dry rot, mold, hidden
                                          Retaiing wlls;or                            latent defect or any quality in prop-
                                       (f) Rtainng wlls;erty                            that causes it to damage or de-
                      (g) Walks, roadway and other paved                          stroy itself;
                           surfaces;                                          (3) Smog;
                                   (h) or(4)
                                          ardfixtres                               Settling, cracking, shrinking or ex-
                    (i) Outdoor swimming pools.                                    pansion;
                (3) A building or part of a building that:                    (5) Nesting or infestation, or discharge or
                    (a) Is in imminent danger of abruptly                         release of waste products or secre-
                        falling down or caving in; or                             tions, by insects, birds, rodents or
                    (b) Suffers a substantial impairment                          other animals;
                        of structural integrity;



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                      (6) Mechanical breakdown, including                tems) caused by or resulting from freez-
                           rupture or bursting caused by cen-            ing, unless:
                          trifugal force. But if mechanical              (1) You do your best to maintain heat in
                          breakdown results in elevator colli-                the building or structure; or
                          sion, we will pay for the loss or dam-
                          age caused by that elevator collision;         (2) You drain the equipment and shut off
                                                                             the water Supply if the heat is not
                     (7) The following causes of loss to per-                 maintained.
                          sonal property:                         h. Dishonest or criminal acts by you, or any
                          (a) Dampness or dryness of atmos-             of your partners, "members", officers,
                               phere;                                   '.managers",      "employees"       (including
                         (b) Changes in or extremes of tem-             leased employees), directors, trustees,
                               perature;                                authorized representatives or anyone to
                         (c) Marring or scratching;                     whom you entrust the property for any
                         (d) Changes in flavor, color, texture          proe
                               or finish;                               (1) Acting alone or in collusion with oth-
                         (e)   Evaporation or leakage; orer;o
                                                                        (2) Whether or not occurring during the
                    (8) Contamination by other than "pollut-                 hours of employment.
                         ants".
                                                                       This exclusion does not apply to acts of
                    But if an excluded cause of loss that is           destruction by your "employees" (includ-
                   listed in Paragraphs (1) through (8) above          ing leased employees), but "theft" by "em-
                   results in a "specified cause of loss",            poes icuiglae
                  building glass breakage or "breakdown"                                                mlye)i
                                                                      nloyoee(ndin. esdem ye)i
                  to "covered equipment" (only if otherwise
                  a Covered Cause of Loss), we will pay for      L. Voluntary parting with any property by
                  the loss or damage caused by that                   you or anyone else to whom you have en-
                  "1specified cause of loss", building glass          trusted the property.
                  breakage or "breakdown" to "covered            jRain, snow, sand, dust, ice or sleet to
                  equipment" (only if otherwise a Covered             personal property in the open.
                  Cause of Loss).                                k. Discharge, dispersal, seepage, migration,
             e. Explosion of steam boilers, steam pipes,              release or escape of "pollutants" unless
                  steam engines or steam turbines owned              the discharge, dispersal, seepage, migra-
                 or leased by you, or operated under your            tion, release or escape is itself caused by
                 control. But if explosion of steam boilers,         any of the "specified causes of loss". But
                 steam pipes, steam engines or steam                 if the discharge, dispersal, seepage, mi-
                 turbines results in fire or combustion ex-          gration, release or escape of "pollutants"
                 plosion, we will pay for the loss or dam-           results in a "specified cause of loss", we
                 age caused by that fire or combustion ex-           will pay for the loss or damage caused by
                 plosion. We will also pay for loss or dam-          that "specified cause of loss".
                age caused by or resulting from the ex-              This exclusion, k. does not apply to dam-
                plosion of gases or fuel within the furnace          age to glass caused by chemicals applied
                of any fired vessel or within the flues or          to the glass.
                passages through which the gases ofI.Dfutoancrdtsl,on,rsilr
                combustion pass.                                    trDeasation.aycei ae la,o iia
           f. Continuous or repeated seepage or leak-               tascin
                age of water, or the presence or conden-         m. Property that is missing, where the only
                sation of humidity, moisture or vapor, that         evidence of the loss or damage is a short-
                occurs over a period of 14 days or more.            age disclosed on taking inventory, or
           g. Water, other liquids, powder or molten                other instances where there is no physi-
                                                                    cal evidence to show what happened to
               material that leaks or flows from plumb-             the property. This exclusion does not ap-
               ing, heating, air conditioning or other              ply to "money" and "securities".
               equipment (except fire protection sys-



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               n. Loss of property or that part of any loss,                 (1) Any cost of correcting or making
                    the proof of which as to its existence or                      good the fault, inadequacy or defect
                    amount is dependent on:                                        itself, including any cost incurred to
                    (1) Any inventory computation; or                              tear down, tear out, repair or replace
                                       (2)
                                        osscomptaton.any
                                             prfit nd                                    part of any property to correct the
              o. The transfer of property to a person or tofal,ideucoreet;r
                    a place outside the described premises                  (2) Any resulting loss or damage by a
                    on the basis of unauthorized instructions.                    Covered Cause of Loss to the prop-
              p. Loss of "money" or "securities" caused by                        det tilha the fault, inadequacy or
                    or resulting from accounting or arithmetic                    defect uis  coreut            deucyo
                   errors or omissions.                                           dfc scretd
                                                                   4. Business Income and Extra Expense Ex-
              q. The cost of correcting or making good the             cuin
                   damage to personal property attributable            cuin
                   to such property being processed, manu-             We will not pay for:
                   factured. tested, repaired, restored, re-           a. Any Extra Expense, or increase of Busi-
                   touched or otherwise being worked upon.                 ness Income loss, caused by or resulting
          3. We will not pay for loss or damage caused by                  from:
             or resulting from any of the following under                  (1) Delay in rebuilding, repairing or re-
             Paragraphs a. through c. But if an excluded                          placing the property or resuming "op-
             cause of loss that is listed in Paragraphs a.                       erations", due to interference by
             and b. below results in a Covered Cause of                          strikers or other persons at the loca-
             Loss, we will pay for the resulting loss or                         tion of the rebuilding, repair or re-
             damage caused by that Covered Cause of                              placement; or
             Loss.
             a. Weather conditions, but this exclusion                    ()Sseso,lpeo                      aclaino
                  only applies if weather conditions contrib-                    the susensi, lase or ctancellatin
                  ute in any way with a cause or event ex-isdrclcaedb                         the           "suspension,
                                                                                                     as rcnelto
                  cluded in Paragraph B.1. above to pro-                        of "oertyaus", wyewillucoensuch"
                  duce the loss or damage.of"prtos,wwilcvruh
            b. Acts or decisions, including the failure to                      loss that affects your Business In-
                                                                                come during the "period of restora-
                  act or decide, of any person, group, or-                      tion" and the period of Extended
                 ganization or governmental body.                               Business Income; or
            c. Faulty, inadequate or defective:                      b. Any other consequential loss.
                 (1) Planning, zoning, development, sur-       C. LIMITS OF INSURANCE
                       veying, siting;                            1. The most we will pay for loss or damage in
                 (2) Design, specifications, workmanship,            any one occurrence is the applicable Limit of
                      repair, construction, renovation, re-          Insurance shown in the Declarations, Sched-
                      modeling, grading, compaction;                 ules, Coverage Forms, or endorsements,
                (3) Materials used in repair, construction,       2. Inflation Guard
                      renovation or remodeling; or                   a. When a percentage for Inflation Guard is
                (4) Maintenance;                                         shown in the Declarations, the Limit of In-
               of part or all of any property on or off the              surance for property to which this cover-
               described premises.                                       age applies will automatically increase by
               If an excluded cause of loss that is listed               that annual percentage.
               in Paragraphs (1) through (4) above re-               b. The amount of increase will be:
               suits in a Covered Cause of Loss, we will                 (1) The Limit of Insurance that applied on
               pay for the resulting loss or damage                           the most recent of the policy incep-
               caused by that Covered Cause of Loss.                          tion date, the policy anniversary date,
               But we will not pay for:                                       or any other policy change amending
                                                                              the Limit of Insurance, multiplied by



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                  (2) The percentage of annual increase              in any one occurrence is the Building Glass
                       shown in the Declarations, expressed          Deductible shown in the Declarations.
                      as a decimal (example: 8% is .08),         3. The Businessowners Property Coverage De-
                      multiplied by                                 ductible does not apply to any of the follow-
                 (3) The number of days since the begin-            ing:
                      ning of the current policy year or the        a. Fire Department Service Charge;
                      effective date of the most recent pol-        b. Business Income and Extra Expense;
                      icy change amending the Limit of In-
                     surance, divided by 365.                       c. Arson and Theft Reward; and
                 Example:                                           d. Accounts Receivable.
                 If:                                             4. Ifmore than one deductible applies to loss or
                                  Bilig imt s$100,000
                          Th aplcbl                                 damage in any one occurrence, we will apply
                                The ppliableBuidinglimi
                                               iseach                    deductible separately. But the total of all
                The annual percentage                               deductible amounts applied in any one occur-
                increase is                              8%         rence will not exceed the largest applicable
                The number of days since                            deductible.
                the beginning of theE.POETLSSCNIOS
                policy year (or last policyE.PO                         RTLSSCNIOS
                change) is                               146    The following conditions apply in addition to the
                The amount of increase is                       Common Policy Conditions:
               $100,000 x .08 x (146/365) =          $3,200     1. Abandonment
         3. Business Personal Property Limit - Sea-                 There can be no abandonment of any prop-
            sonal Increase                                          erty to us.
            a. The Limit of Insurance for Business Per-         2. Appraisal
               sonal Property shown in the Declarations             If we and you disagree on the value of the
               will automatically increase by 25% to pro-           property, the amount of Net Income and op-
               vide for seasonal variations.                        erating expense or the amount of loss, either
            b. This increase will apply only if the Limit of        may make written demand for an appraisal of
               Insurance shown for Business Personal                the loss. In this event, each party will select a
               Property in the Declarations is at least             competent and impartial appraiser. The two
               100% of your average monthly values                  appraisers will select an umpire. If they can-
               during the lesser of:                                not agree, either may request that selection
                                                                    be made by a judge of a court having jurisdic-
               (1) The 12 months immediately preced-               tion. The appraisers will state separately the
                    ing the date the loss or damage oc-            value of the property, the amount of Net In-
                    curs; or                                       come and operating expense or the amount
               (2) The period of time you have been in             of loss. If they fail to agree, they will submit
                    business as of the date the loss or            their differences to the umpire. A decision
                    damage occurs.                                 agreed to by any two will be binding. Each
    D. DEDUCTIBLES                                                 party will:
       1. We will not pay for loss or damage in any one            a. Pay its chosen appraiser; and
           occurrence until the amount of loss or dam-             b. Bear the other expenses of the appraisal
           age exceeds the Businessowners Property                      and umpire equally.
           Coverage Deductible shown in the Declara-               If there is an appraisal, we will still retain our
          tions. We will then pay the amount of covered            right to deny the claim.
          loss or damage in excess of that Deductible.         3      uisi h vn fLs rDmg
          But we will not pay more than the applicable         3      uisi h vn fLs rDmg
          Limit of Insurance,                                     a. You must see that the following are done
       2. Regardless of the amount of the Busines-                      in the event of loss or damage to Covered
          sowners Property Coverage Deductible, the                     Property:
          most we will deduct from any loss or damage                   (1) Notify the police if a law may have
          under the Building Glass Coverage Extension                        been broken. This duty does not ap-



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                         ply to loss or damage arising from                    may result in loss of or damage to
                         ".employee dishonesty" and "forgery"                  Covered Property.
                         or alteration.                                    (9) Cooperate with us in the investigation
                   (2) Give us prompt notice of the loss or                    and settlement of the claim.
                         damage. Include a description of the            (10) If you intend to continue your busi-
                         property involved.                                    ness, you must resume all or part of
                  (3) As soon as possible, give us a de-                       your "operations" as quickly as possi-
                        scription of how, when and where the                   ble.
                        loss or damage occurred.                     b. We may examine any insured under oath,
                  (4) Take all reasonable steps to protect                while not in the presence of any other in-
                        the Covered Property from further                 sured and at such times as may be rea-
                        damage, and keep a record of your                 sonably required, about any matter relat-
                        expenses necessary to protect the                 ing to this insurance or the claim, includ-
                        Covered Property, for consideration               ing an insured's books and records. Inthe
                        in the settlement of the claim. This              event of an examination, an insured's an-
                        will not increase the Limit of Insur-             swers must be signed.
                        ance. However, we will not pay for        4. Loss Payment - Building and Personal
                        any subsequent loss or damage re-            Property
                       sulting from a cause of loss that is not      a. In the event of loss or damage covered
                       a Covered Cause of Loss. Also, if                 by this Coverage Form, at our option, we
                       feasible, set the damaged property                will either:
                       aside and in the best possible order              (1) Pay the value of lost or damaged
                       for examination.                                       property;
                 (5) At our request, give us complete in-                (2) Pay the cost of repairing or replacing
                       ventories of the damaged and un-                       the lost or damaged property, subject
                       damaged property. Include quantities,                  t aarp .blw
                       costs, values and amount of loss                       t aarp .blw
                       claimed.                                          (3) Take all or any part of the property at
                 (6) As often as may be reasonably re-                        a gedo prie               au;o
                       quired, permit us to inspect the prop-            (4) Repair, rebuild or replace the prop-
                       erty proving the loss or damage and                    erty with other property of like kind
                      examine your books and records,                         and quality, subject to Paragraph b.
                      Also permit us to take samples of                       below.
                      damaged and undamaged property                    We will determine the value of lost or
                      for inspection, testing and analysis,             damaged property, or the cost of its repair
                      and permit us to make copies from                 or replacement, in accordance with the
                      your books and records.                           applicable terms of Paragraph e. below or
                                                                        any applicable provision which amends or
                (7) For loss or damage from other than                  supersedes these valuation conditions.
                      "employee dishonesty" or "forgery" or         b. The cost to repair, rebuild or replace does
                      alteration send us a signed, sworn                not include the increased cost attributable
                      proof of loss containing the informa-             to enforcement of any ordinance or law
                     tion we request to investigate the                 regulating the construction, use or repair
                     claim. You must do this within 60                  of any property, except as provided in the
                     days after our request. We will supply             Ordinance or Law Additional Coverage.
                     you with the necessary forms.                  c.We will give notice of our intentions within
               (8) For loss or damage resulting from                    30 days after we receive the proof of loss.
                     "employee dishonesty" or "forgery" or          d. We will not pay you more than your finan-
                     alteration, give us a detailed, sworn              ca neeti h oee rpry
                     proof of loss within 120 days after                ca neeti h oee rpry
                    you discover a loss or situation that




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             e. We will determine the value of Covered                               (i) The Limit of Insurance appli-
                Property in the event of covered loss or                                    cable to the lost or damaged
                damage as follows:                                                          property;
                (1) At replacement cost (without deduc-                              (ii) The cost to replace the lost or
                    tion for deprecdation), except as pro-                                 damaged property with other
                    vided in Paragraphs (2) through (18)                                   property:
                    below.                                                                 a) Of comparable material
                    (a) You may make a claim for loss or                                        and quality; and
                          damage covered by this insur-                                    b) Used for the same pur-
                          ance on an actual cash value ba-                                      pose; or
                         sis instead of on a replacement                             (iii) The amount actually spent
                         cost basis. In the event you elect                                ta sncsayt earo
                         to have loss or damage settled                                    repascessr he losti    orge
                         on an actual cash value basis,relcthlotrda                                                   gd
                         you may still make a claim on a                                   property.
                         replacement cost basis if you no-                           If a building is rebuilt at a new
                         tify us of your intent to do so                            premises, the cost described in
                         within 180 days after the loss or                          Paragraph (ii) above is limited to
                         damage.                                                    the cost which would have been
                   (b) We will not pay on a replacement                             rebuiltdat theoriin premise
                         cost basis for any loss or dam-reulatheoinlpems.
                         age:                                                 (d) The cost of repair or replacement
                                                    nti th
                                             los ordamgeddoes
                                            (i)                                               not include the increased
                              propUntilthe aostual oreaaged                         cost attributable to enforcement
                                prropler     ;iactaln rpie                          of any ordinance or law regulat-
                                                or relaced anding                         the construction, use or repair
                        (ii) Unless the repairs or re-                              of any property.
                              placement are made as soon(2IfteDcatinidctehtA-
                              as reasonably possible after(2IfteDcatinidctehtA-
                              the loss or damage.                             tual Cash Value applies to Buildings
                                                                              or Business Personal Property, Para-
                        With respect to tenants' im-                          graph (1) above does not apply to the
                        provements and betterments, the                       property for which Actual Cash Value
                        following also applies:                               is indicated.
                              a) If the conditions in Para-              (3) Personal Property of others at the
                                    graphs (i) and (ii) above                 amount for which you are liable plus
                                    are not met, the value of                tecs flbr                   aeil rsr
                                    tenants'     improvements                tecs             flbr       aeil     rsr
                                    and betterments will be                  vices furnished or arranged by you on
                                                  as proor-personal
                                                 detemine                                    property of others, not to
                                   tion of your original cost,               ece h elcmn ot
                                   as set forth under Para-              (4) The following property at actual cash
                                   graph e.(7) below; and                    value:
                             lo) We will not pay for loss                    (a) Used or second-hand merchan-
                                   or damage to tenants'                           dise held in storage or for sale;
                                   improvements and bet-                     ()Hueodfrihns n
                                   terments if others pay for                ()Hueodfrihns n
                                   repairs or replacement.                   (c) Personal effects.
                  (c) We will not pay more for loss or                   (5) "Fine Arts" as follows:
                       damage on a replacement cost                          (a) Ifthere is a schedule of "fine arts"
                       basis than the least of Para-                               on file which includes a descrip-
                       graphs (I), (!I) or (iii) subject to                        tion and value of the lost or dam-
                       Paragraph (d) below:                                        aged item, we will pay the value
                                                                                   as stated in the schedule for that



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                             item if there is a total loss to that          are not restored or replaced, the
                             item. Ifthere is a partial loss to an           "valuable papers and records" will be
                             item, we will pay the cost of rea-             valued at the cost of replacement
                            sonably restoring or repairing that             with blank material of substantially
                            item.                                           identical type.
                      (b) For "fine arts" without a schedule            (9) "Stock" you have sold but not deivy-
                            on file as described in Paragraph               ered at the selling price less dis-
                            (a) above, the value of "fine arts"             counts and expenses you otherwise
                            will be the least of the following              would have had.
                            amounts:
                            (i) Market value of the lost or            (10) Property in transit (other than "stock"
                                                       a thetimeyou
                                                  damaed   iem                   have sold) at the amount of in-
                                     damad       tem at thestim             voice, including your prepaid or ad-
                                                  and
                                                  lss;vanced
                                                        laceof                       freight charges and other
                           (Hi)The cost of reasonably re-                   charges which may have accrued or
                                    storing the lost or damaged             become legally due from you since
                                    item; or                                the shipment. If you have no invoice,
                           (iii) The cost of replacing that lost            actual cash value will apply.
                                   or damaged item with prop-          (11) "Money" at its face value.
                                   erty substantially the same.
                                                  eplcemnt ith(12)
                                       (6) lasofatthecos                    "Securities" at their value at the close
                     safety glazing material if required by                  ov uered.       hedyth os sds
                     law.                                                   cvrd
                (7) Tenants' Improvements and Better-                  (13) Accounts Receivable as follows:
                     ments at:                                               (a) If you cannot accurately establish
                                                     ifyou akethe
                                            (a)coteplaemen                             amount of Accounts Receiv-
                       ()repla cesprmntlcsyi. ou m k                             able outstanding as of the time of
                                               repars romply.loss,                      we will:
                     (b) A proportion of your original cost                      0I) Determine the total of the av-
                          if you do not make repairs                                   erage monthly amounts of
                          promptly. We will determine the                              Accounts Receivable for the
                          proportionate value as follows:                              12 months immediately pre-
                         (i) Multiply the original cost by                             ceding the month in which
                                  the number of days from the                         the loss occurs; and
                                  loss or damage to the expira-                  (ii) Adjust that total for any nor-
                                  tion of the lease; and                               mal fluctuations in the
                         (Hi)Divide the amount deter-                                  amount for Accounts Receiv-
                                 mined in Paragraph (i) above                          able for the month in which
                                 by the number of days from                           the loss occurred or for any
                                 the installation of improve-                         demonstrated variance from
                                 ments to the expiration of the                       the average for that month.
                                 lease.                                     (b) If you can accurately establish
                                 If your lease contains a re-                   the amount of Accounts Receiv-
                                newal option, the expiration                    able outstanding, that amount will
                                of the renewal option period                    be Used in the determination of
                                will replace the expiration of                  loss.
                                the lease in this procedure.                (C) The following will be deducted
                   (c) Nothing, if others pay for repairs                       from the total amount of Accounts
                        or replacement.                                         Receivable, however that amount
               (8) "Valuable Papers and Records" at                             is established:
                   the cost of restoration or replace-                          0I) The amount of the accounts
                   ment. To the extent that the contents                              for which there was no loss;
                   of the "valuable papers and records"



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                               (ii) The amount of the accounts                    termining the value of Covered Prop-
                                    that you are able to re-                      erty:
                                    establish or collect;                         (a) Distilled spirits;
                              (iii) An amount to allow for prob-                  (b) Wines;
                                    able bad debts that you are
                                    normally unable to collect;                      (c) Rectified products; or
                                    and                                              (d) Beer.
                              (iv) All unearned interest and                 (18) Lottery tickets at their initial cost to
                                    service charges.                                you except for winning tickets at their
                 (14) "Electronic Data Processing Equip-                             redeemed value.
                        ment" at replacement cost as of the               f. Our payment for loss of or damage to
                        time and place of loss, without deduc-                 personal property of others will only be for
                        tion for physical deterioration, depre-                the account of the owners of the property.
                        ciation, obsolescence or depletion.                    We may adjust losses with the owners of
                        However, in the event replacement of                   lost or damaged property, if other than
                        "Electronic Data Processing Equip-                     you. If we pay the owners, such pay-
                        ment" with identical property is in-                   mnents will satisfy your claims against us
                        possible, the replacement cost will be                for the owners' property. We will not pay
                       the cost of items that are similar to                  the owners more than their financial in-
                       the damaged or destroyed equipment                     terest in the Covered Property.
                       and intended to perform the same                   g. We have the right but not the duty to de-
                       function, but which may include tech-                  fend you against suits arising from claims
                       nological advances.                                    of owners of property. We will do so at
                       "Electronic Data Processing Equip-                     our expense.
                       ment" that is obsolete or no longer                hn. We will pay for covered loss or damage
                       used by you will be valued at actual                   within 30 days after we receive the sworn
                       cash value.                                            proof of loss provided you have complied
                (15) "Electronic Data Processing Data and                     with all of the terms of this policy; and
                      Media" for which duplicates do not                      (1) We have reached agreement with
                      exist will be valued as follows:                              you on the amount of loss; or
                      (a) The cost of blank media; and                        (2) An appraisal award has been made.
                      (b) Your cost to research, replace or              L. At our option, we may make a partial
                             restore the lost electronic data on              payment toward any claim, subject to the
                            lost, damaged or destroyed                        policy provisions and our normal adjust-
                            "Electronic Data Processing Data                  ment process. To be considered for par-
                            and Media" but only if the lost                  tial claim Payment, you must submit a
                            electronic data is actually re-                   partial sworn proof of loss with supporting
                            placed or restored.                              documentation. Any applicable policy de-
                                      "Elctrnic ataProcss-ductibles
                                     (16)Duplcat                                          must be satisfied before any
                     ing Data and Media" at the cost of:                     prilpyet              r ae
                                                                    5.   Loss Payment - Business Income and Ex-
                     (a) Blank media; and                                tra Expense
                     (b) Labor to copy the electronic data,              a. The amount of Business Income loss will
                           but only if the electronic data is                be determined based on:
                                            actualy coied.(1)                      The Net Income of the business be-
               (17) The value of United States Govern-                             fore the direct physical loss or dam-
                    ment Internal Revenue taxes andagocurd
                    custom duties and refundable stateagocued
                    and local taxes paid or fully deter-                     (2) The likely Net Income of the business
                    mined on the following property held                         if no physical loss or damage oc-
                    for sale will not be considered in de-                       curred, but not including any likely in-
                                                                                 crease in Net Income attributable to



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                         an increase in the volume of business                                   the described premises or elsewhere;
                         as a result of favorable business                                       or
                        conditions caused by the impact of                               (2) Extra Expense loss to the extent you
                        the Covered Cause of Loss on cus-                                       can return "operations" to normal and
                        tomers or on other businesses;                                          discontinue such Extra Expense.
                  (3) The operating expenses, including                            d. If you do not resume "operations", or do
                        payroll expenses, necessary to re-                               not resume "operations" as quickly as
                        sume "operations" with the same                                  possible, we will pay based on the length
                        quality of service that existed just be-                         of time it would have taken to resume
                       fore the direct physical loss or dam-                             "1operations" as quickly as possible.
                                         age; ande.                                     We will pay for covered loss or damage
                  (4) Other relevant sources of information,                            within 30 days after we receive your
                       including:                                                       sworn proof of loss provided you have
                       (a) Your financial records and ac-                               complied with all of the terms of this pol-
                              counting procedures;                                      icy; and
                       (b) Bills, invoices and other vouch-                             (1) We have reached agreement with
                              ers; and                                                          you on the amount of loss; or
                       (c) Deeds, liens or contracts.                                   (2) An appraisal award has been made.
             b. The amount of Extra Expense will be de-                       6. Recovered Property
                 termined based on:                                               If either you or we recover any property after
                 (1) All reasonable and necessary ex-                             loss settlement, that party must give the other
                       penses that exceed the normal oper-                        prompt notice. At your option, you may retain
                      ating expenses that would have been                         the property. But then you must return to us
                      incurred by "operations" during the                         the amount we paid to you for the property.
                      ".period of restoration" if no direct                       We will pay the recovery expenses and the
                      physical loss or damage had oc-                             expenses to repair the recovered property,
                                        currd.educ       frm te ttalsubject
                                                      e wll                                    to the applicable Limit of Insurance.
                      of such expenses:                                      7. Noncumulative Limit
                      (a) The salvage value that remains                          No Limit of Insurance cumulates from policy
                            of any property bought for tempo-                     period to policy period.
                            rary use during the "period of res-           F. COMMERCIAL PROPERTY CONDITIONS
                            toration", once "operations" are                 1      ocamn,Msersnaino ru
                            resumed; and1.Cocamn,MsersnainrFau
                                       (b) ny xtraExpnsethatis aidThis                    Coverage Form is void in any case of
                             Any Exthra Expnsne, tha t
                           fb)                                       oai         fraud by you. It is also void if you or any other
                            fo yhrinsurance
                                          thti             ,
                                                         rtex    ucto            insured, at any time, intentionally conceal or
                           to the same plan, terms, condi-                        msersn                 aeilfc ocrig
                           tions and provisions as this in-                      a. This Coverage Form;
                           surance; and                                          b. The Covered Property;
                (2) All reasonable and necessary ex-                             c. Your interest in the Covered Property; or
                     penses that reduce the Business In-                         d          li       ne hsCvrg om
                    come loss that otherwise would have                          d          li       ne hsCvrg om
                    been incurred.                                           2. Control of Property
           c. We will reduce the amount of your:                                Any act or neglect of any person other than
                                                                                you beyond your direction or control will not
               (1) Business Income loss, other than Ex-                         affect this insurance.
                    tra Expense, to the extent you can
                    resume your "operations", in whole or                       The breach of any condition of this Coverage
                                      in prt,by uingdamaed   r unam-Form                  at any one or more premises will not af-
                    ine prt,        y sin udmage "so un
                                   erb                          k" a-           fect coverage at any premises where, at the
                                      agedproprty(incudin "sock" attime                of loss or damage, the breach of condi-
                                                                                tion does not exist.


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         3. Insurance Under Two or More Coverages                          (2) Within the coverage territory; and
              If two or more coverages under this Coverage            b. The coverage territory is:
             Form apply to the same loss or damage, we                     (1) The United States of America (includ-
             will not pay more than the actual amount of                        ing its territories and possessions);
             the loss or damage.
                                                                           ()Pet           io n
         4. Legal Action Against Us                                        ()Pet           io n
             No one may bring a legal action against us                    (3) Canada.
             under this Coverage Form unless:                     9. Transfer of Rights of Recovery Against
             a. There has been full compliance with all of            Others to Us.
                   the terms of this Coverage Form; and               If any person or organization to or for whom
             b. The action is brought within 2 years after            we make payment under this Coverage Form
                   the date on which the direct physical loss         has rights to recover damages from another,
                   or damage occurred.                               those rights are transferred to us to the extent
                                                                     of our payment. That person or organization
        5. Liberalization                                            must do everything necessary to secure our
            if we adopt any revision that would broaden              rights and must do nothing after loss to impair
            the coverage under this Coverage Form with-              them. But you may waive your rights against
            out additional premium within 45 days prior to           another party in writing:
            or during the policy period, the broadened               a. Prior to a loss to your Covered Property
            coverage will immediately apply to this Coy-                  or Covered Income; or
                              erageForm.b.                                After a loss to your Covered Property or
        6. No Benefit to Bailee                                            Covered Income only if, at time of loss,
            No person or organization, other than you,                    that party is one of the following:
            having custody of Covered Property will                       (1) Someone insured by this insurance;
            benefit from this insurance.                                  ()Absns im
        7. Other Insurance                                                     ()Ondo otoldb o;o
            a. You may have other insurance subject to                         ()Ondo otoldb o;o
                  the same plan, terms, conditions and pro-                    (b) That owns or controls you; or
                  visions as the insurance under this Coy-                (3) Your tenant.
                  erage Form. If you do, we will pay our             This will not restrict your insurance.
                  share of the covered loss or damage. Our
                  share is the proportion that the applicable     10. Coinsurance
                  Limit of Insurance under this Coverage              If a Coinsurance percentage is shown in the
                  Form bears to the Limits of Insurance of            Declarations, the following condition applies.
                 all insurance covering on the same basis.            a. We will not pay the full amount of any
           b. If there is other insurance covering the                    loss if the value of Covered Property at
                 same loss or damage, other than that de-                 the time of loss multiplied by the Coinsur-
                 scribed in Paragraph a. above, we will                   ance percentage shown for it in the Dec-
                 pay only for the amount of covered loss                  larations is greater than the Limit of In-
                 or damage in excess of the amount due                    surance for the property.
                 from that other insurance, whether you                   Instead, we will determine the most we
                 can collect on it or not. But we will not pay            will pay using the following steps:
                 more than the applicable Limit of Insur-
                ance.                                                     (1) Multiply the value of Covered Prop-
                            8. overge
                                PlicyPerod,errioryerty                             at the time of loss by the Coin-
           Under this Coverage Form:suacpeeng;
                                                                         (2) Divide the Limit of Insurance of the
           a. We cover loss or damage you sustain                            property by the figure determined in
              through acts committed or events occur-                        step (1);
              ring:                                                      (3) Multiply the total amount of the coy-
              (1) During the policy period shown in the                      ered loss, before the application of
                    Declarations; and



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                        any deductible, by the figure deter-             (2) Additional Coverages;
                        mined in step (2); and                           (3) Coverage Extensions; or
                     (4) Subtract the deductible from the fig-           (4) Loss or damage in any one occur-
                         ure determined in step (3).                         rence totaling less than $2,500.
                    We will pay the amount determined in           11 Mortgageholders
                    step (4) or the limit of insurance, which-
                    ever is less,                                      a. The term, mortgageholder, includes trus-
                    For the remainder, you will either have to             te
                    rely on other insurance or absorb the loss         b. We will pay for covered loss of or damage
                    yourself.                                              to buildings or structures to each mort-
                                                                           gageholder shown in the Declarations in
                   Example No. 1 (Under insurance):                        their order of precedence, as interests
                   When:                                                   may appear.
                                                     250000c.
                                  The alu oftheproprtyis                   The mortgageholder has the right to re-
                                   The alu oftheproprtyis
                                                     250000ceive                  loss payment even if the mortgage-
                   The Coinsurance percent                                 holder has started foreclosure or similar
                   for it is                            90%                action on the building or structure.
                   The Limit of Insurance for                          d. If we deny your claim because of your
                   it is                           $112,500               acts or because you have failed to comn-
                  The Deductible is                    $250               ply with the terms of this Coverage Form,
                  The amount of loss is             $40,000               the mortgageholder will still have the right
                  Step (1): $250,000 x 90% = $225,000                     to receive loss payment if the mortgage-
                  (the minimum amount of insurance to                     holder:
                  meet your Coinsurance requirements)                     (1) Pays any premium due under this
                  Step (2): $112,500/$225,000 =.50                             Coverage Form at our request if you
                  Step (3): $40,000 x .50 = $20,000                            have failed to do so;
                                       $50 $20000-
                                  Step(4)   =$19750(2)                         Submits a signed, sworn proof of loss
                                   Step(4):$2000
                                     -$25      $19750within                            60 days after receiving notice
                 We will pay no more than $19,750. The                         from US Of your failure to do so; and
                 remaining $20,250 is not covered.                        (3) Has notified us of any change in
                           EapeN.2(dqaeInsurance):                             ownership or occupancy or substan-
                                   Examle
                                    Adeqatetial
                                              N. 2                                  change in risk known to the mort-
                 When:                                                         gageholder.
                 The value of the property is      $250,000               All of the terms of this Coverage Form will
                 The Coinsurance percentage                               then apply directly to the mortgageholder.
                                 for t is90%e.                            If we pay the mortgageholder for any loss
                The Limit of Insurance for                                or damage and deny payment to you be-
                lt is                             $225,000                cause of your acts or because you have
                The Deductible is                      $250               failed to comply with the terms of this
              The amount of loss is            $40,000                    Coverage Form:
              The minimum amount of insurance to                          (1) The mortgagehol der's rights under
              meet your Coinsurance requirement is                            the mortgage will be transferred to us
              $225,000 ($250,000 x 90%).                                      to the extent of the amount we pay;
              Therefore, the Limit of Insurance in this                       and
              Example is adequate and no penalty ap-                      (2) The mortgageholder's rights to re-
              plies. We will pay no more than $39,750                         cover the full amount of the mort-
              ($40,000 amount of loss minus the de-                           gageholder's claim will not be im-
              ductible of $250).                                              paired.
           b. Coinsurance does not apply to:                                  At our option, we may pay to the
                                                                              mortgageholder the whole principal
               (1) "Money" and "securities";                                  on the mortgage plus any accrued in-



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                      terest. In this event, your mortgage                  (6) The cracking of any part on any in-
                      and note will be transferred to us and                    ternal combustion gas turbine ex-
                      you will pay your remaining mortgage                      posed to the products of combustion.
                       debt to us.                                  3. "Communication Supply Services"
             f.   If we cancel this policy, we will give writ-         a. Means property supplying communication
                 ten notice to the mortgageholder at least:               services, including telephone, radio, mi-
                 (1) 10 days before the effective date of                 crowave or television services, to the de-
                      cancellation if we cancel for your non-             scribed premises, such as:
                      payment of premium; or                              (1) Communication transmission lines,
                 (2) 30 days before the effective date of                      including fiber optic transmission
                      cancellation if we cancel for any other                  lines;
                      reason.                                             (2) Coaxial cables; and
            g. If we elect not to renew this policy, we will              (3) Microwave radio relays, except satel-
                 give written notice to the mortgageholder                    lites; and
                 at least 10 days before the expiration                b    osntma            vredtasiso
                 date of this policy.                                  b. nesntma             vredtasiso
     G. PROPERTY DEFINITIONS                                        4    CvrdEupet
        1. "Banking Premises" means the interior of
           that portion of any building which is occupied               a. Means the following types of equipment:
           by a banking institution or similar safe deposi-                (1) Equipment designed and built to op-
           tory.                                                               erate under internal pressure or vac-
        2. "Breakdown"                                                         uum other than weight of contents;
           a. Means:                                                       (2) Electrical or mechanical equipment
                                              o presureqip-that
                                          or acum
                                   (1) ailue                                        is used in the generation, trans-
                   (1maieo rsur;rvcu m eup                                     mission or utilization of energy;

                (2) Mechanical failure, including rupture                   (3) Fiber optic cable; and
                      or bursting caused by centrifugal                     (4) Hoists and cranes;
                     force; or                                          b. Does not mean any:
                (3) Electrical failure including arcing;                    (1) "Electronic Data Processing Equip-
                that causes physical damage to "covered                         ment";
                equipment" and necessitates its repair or                   (2) "Electronic Data Processing Data and
                replacement; and                                                Media";
            b. Does not mean:                                               (3) Part of pressure or vacuum equip-
                (1) Malfunction, including but not limited                      ment that is not under internal pres-
                     to adjustment, alignment, calibration,                     sure of its contents or internal vac-
                    cleaning or modification;                                   uum;
               (2) Leakage at any valve, fitting, shaft                     (4) Insulating or refractory material;
                    seal, gland packing, joint or connec-                  (5) Pressure vessels and piping that are
                    tion;                                                       buried below ground and require the
               (3) Damage to any vacuum tube, gas                               excavation of materials to inspect,
                    tube, or brush;                                             remove, repair or replace;
               (4) Damage to any structure or founda-                      (6) Structure, foundation, cabinet or com-
                    tion supporting the "covered equip-                         partment supporting or containing the
                    ment" or any of its parts;                                  "covered equipment" or part of the
                                 (5) he       saetyor ro-"covered
                                        f anuncionng                                      equipment" including pen-
                  (5) tThefun ct in o f n a et r p o                           stock, draft tube or well casing;
                                                                           (7) Vehicle, aircraft, self-propelled equip-
                                                                               ment or floating vessel, including any



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                         equipment mounted on or used solely             b. Does not mean equipment used to oper-
                         with any vehicle, aircraft, self-                    ate production type of:
                         propelled equipment or floating yes-                 (1) Machinery; or
                         sel;                                                 (2) Equipment.
                  (8) Elevator or escalator, but not exclud-         8. "Electronic Vandalism" means any acts by
                        ing any electrical machine or appara-            persons, other than "employees", involving
                        tus mounted on or used with thisanofteolwig
                                       equiment ora.                         Willful or malicious destruction of corn-
                  (9) Equipment or any part of such equip-                   puter programs, content, instructions or
                        ment manufactured by you for sale.                   other electronic or digital data stored
         5. "Diagnostic Equipment" means any:                                within computer systems; or
            a. Equipment; or                                             b. Unauthorized computer code or pro-
            b. Apparatus;                                                    gramming that:
            used solely for research, diagnostic, medical,                   (1) Deletes, distorts, corrupts or manipu-
                                  surgcaldetalor
                                             thraputi,athlogcallates                      computer programs, contents,
             surgials e ra etcsetl.r ptooia                                       instructions or other electronic or digi-
         6. "Electronic Data Processing Data and Me-                              tal data, or otherwise results in dam-
                                  dia"                                            age to computers or computer sys-
                                  dia"                                            tems or networks to which is intro-
            a. Means any of the following used in your                            duced;
                 computer operations:                                        (2) Replicates itself, impairing the per-
                 (1) Data stored as or on, created or used                        formance of computers or computer
                       on, or transmitted to or from com-                         systems or networks; or
                       puter software (including systems
                       and applications) on electronic data                 (3) Gains remote control access to data
                       processing, recording or storage me-                       and programming within computers
                       dia such as hard or floppy disks, CD-                      or computers systems or networks to
                       ROMS, tapes, drives, cells, data                          which it is introduced, for uses other
                       processing devices or any other re-                       ta hs neddfratoie
                       positories of computer software which                      users of the computers or computer
                      are used with electronically controlled                     systems or networks.
                      equipment;                                     9. "Employee(s)"
                (2) The electronic media on which the                   a. Means:
                      data is stored; and                                   (1) Any natural person:
                (3) Programming records and instruc-                             (a) While in your service (and for 30
                      tions used for "Electronic Data Proc-                            days after termination of service);
                      essing Equipment"; and                                     (b) Whom you compensate directly
           b. Does not mean "Valuable Papers and                                       by salary, wages or commissions;
                Records".                                                              and
        7. "Electronic Data Processing Equipment"                                (c) Whom you have the right to direct
           a. Means any of the following equipment                                     and control while performing ser-
                used in your operations:                                               vices for you;
                  ()Electronic data processing equip-                       (2) Any natural person employed by an
                     ment, facsimile machines, word proc-                        epomn             otatrwieta
                             esr,multi-functional telephone                      person is subject to your direction
                     essors,         ndlptpan            oral                    and control and performing services
                     eqmuentan;         and
                                          l      an      otbefor                      you excluding, however, any such
                                                                                 person while having care and custody
               (2) Any component parts and peripherals                           of property outside the premises; or
                     of such equipment, including related
                     surge protection devices; and



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                        (3) Your directors or trustees while acting    15. "Manager" means a person serving in a di-
                            as a member of any of your elected              rectorial capacity for a limited liability corn-
                            or appointed committees to perform              pany.
                            on your behalf specific, as distin-       16. "Member" means an owner of a limited liabil-
                            guished from general, directorial acts;        ity company represented by its membership
                            and                                            interest, who also may service as a "man-
                 b. Does not mean any agent, broker, person                ager".
                       leased to you by a labor leasing firm, fac-    17. "Money" means currency and coins in cur-
                       tor, commission merchant, consignee, in-            rent use, bank notes, travelers checks, regis-
                       dependent contractor or representative of           ter checks and money orders held for sale to
                       the same general character,                         the public.
           10. "Employee Dishonesty" means only dis-                  18. "Operations" means your business activities
                honest acts, committed by an "employee",                  occurring at the described premises and the
                whether identified or not, acting alone or in             tenantability of the described premises.
                collusion with other persons, except you, a           19. "Period of Restoration"
                partner, a "member", or a "manager" with the
                manifest intent to:                                       a. Means the period of time that:
               a. Cause you to sustain loss; and also                        (1) Begins:
               b. Obtain financial benefit (other than sala-                     (i) For Business Income coverage:
                      ries, commissions, fees, bonuses, promo-                        a) With the date of direct physi-
                     tions, awards, profit sharing, pensions or                          cal loss or damage, if the
                     other employee benefits earned in the                               Declarations show Immedi-
                     normal course of employment) for:                                   ately for Period of Restora-
                     (1) The "employee"; or                                              tion - Time Period; or
                     (2) Any person or organization intended                         b) 72 hours after the time of di-
                           by the "employee" to receive that                             rect physical loss or damage,
                           benefit.                                                      if the Declarations show 72
          11. "Fine Arts"                                                                hours for Period of Restora-
                                                                                         tion - Time Period; or
               a. Means paintings, etchings, pictures, tap-                     (ii) For Extra Expense coverage with
                     estries, art glass windows, valuable rugs,                      the date of direct physical loss or
                     statuary, marbles, bronzes, antique furni-dage
                    ture, rare books, antique silver, porce-dage
                    lains, rare glass, bric-a-brac, and similar                  caused by or resulting from any Coy-
                    property with historical value, or artistic                  ered Cause of Loss at the described
                   merit; and                                                    premises; and
              b. Does not mean any glass that is part of a                  (2) Ends on the earlier of:
                   building or structure.                                        (I) The date when the property at
         12. "Forgery" means the signing of the name of                               the described premises should be
              another person or organization with intent to                           repaired, rebuilt or replaced with
              deceive. "Forgery" does not mean a signature                            reasonable speed and similar
              which consists in whole or in part of one's                             quality; or
              own name signed with or without authority, in                      (ii) The date when business is re-
              any capacity for any purpose.                                           sumed at a new permanent loca-
        13. "Interior of any building or structure"                                   tion; and
              means all portions of the building or structure           b. Does not mean any increased period re-
             that are within the exterior facing surface ma-               quired due to the enforcement of any law
             terial of the building or structure.                          that:
        14. "Maintenance Fees" means the regular                           (1) Regulates the construction, use or
             payment made to you by unit-owners and                            repair, or requires the tearing down of
             used to service the common property.                              any property; or




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                    (2) Requires any insured or others to test              b. Includes "covered equipment' that is
                         for, monitor, clean up, remove, con-                    used solely with or forms an integral part
                         tain, treat, detoxify or neutralize, or in              of the:
                         any way respond to, or assess the ef-                   (1) Production;
                         fects of "pollutants".                                  (2) Process; or
              The expiration date of this policy will not cut                    ()Aprts
              short the "period of restoration".                                 ()Aprts
         20. "Pollutants" means any solid, liquid, gase-               24. "Rental Value" means Business Income that
              ous or thermal irritant or contaminant, includ-               consists of:
              ing smoke, vapor, soot, fumes, acids, alkalis,                a. Net Income (Net Profit or Loss before in-
             chemicals, waste, and any unhealthful or                            come taxes) that would have been
             hazardous building materials (including but                         earned or incurred as rental income from
             not limited to asbestos and lead products or                       tenant occupancy of the premises de-
             materials containing lead). Waste includes                          scribed in the Declarations as furnished
             materials to be recycled, reconditioned or re-                     and equipped by you, including the fair
             claimed.                                                           rental value of any portion of the de-
         21. "Power Generating Equipment"                                        scribed premises which is occupied by
             a. Means the following types of equipment                          you; and
                                    or aparaus:b.                               Continuing normal operating expenses
                                     oapaau:incurred                                      in connectionwihtaprms,
                   (1) Pressure;                                                including:wihtaprms,
                   (2) Mechanical; or                                           (1) Payroll; and
                   (3) Electrical;                                              (2) The amount of charges which are the
                   used in or associated with the generation                         legal obligation of the tenant(s) but
                   of electric power; and                                            would otherwise be your obligations.
             b. Does not mean such equipment that is                  25. "Securities" means all negotiable and non-
                   used solely to generate emergency power                 negotiable instruments or contracts repre-
                  that is less than or equal to 100OOKW.                   senting either "money" or other property and
        22. "Power Supply Services"                                        includes revenue or other stamps in current
                                                                          use, tokens, tickets and credit card slips for
            a. Means the following types of property                      sales made by you and held by you for reim-
                  supplying electricity, steam or gas to the              bursement from companies issuing credit
                  described premises:                                     cards, but does not include "money". Lottery
                  (1) Utility generating plants;                          tickets held for sale are not securities.
                  (2) Switching stations;                             26. "Specified Causes of Loss" means the fol-
                  (3) Substations;                                        lowing:
                                                                          Fire; lightning; explosion; windstorm or hail;
                 (4) Transformers; and                                    smoke; aircraft or vehicles; riot or civil com-
                 (5) Transmission lines; and                              motion; vandalism; leakage from fire extin-
            b. Does not mean overhead transmission                        guishing equipment; sinkhole collapse; vol-
                                  lines,canic                                     action; falling objects; weight of snow,
                                  lines.ice                                    or sleet; water damage.
                           23.
                             Euipmnt"a.
                                   Prouctin                                    Sinkhole collapse means the sudden
                                a. Mans ny:sinking                                       or collapse of land into under-
                 (1) Production machinery; or                                  ground empty spaces created by the ac-
                                   (2) roces mchinry;tion                             of water on limestone or dolomite.
                                   (2)     roces mchinry;This                         cause of loss does not include:
                that processes, shapes, forms or grinds:                       (I) The cost of filling sinkholes; or
                (1) Raw materials;                                             (2) Sinking or collapse of land into un-
                (2) Materials in process; or                                        derground man-made cavities.
                (3) Finished products; and



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                                                                                                BUSINESSOWNERS


              b. Falling objects does not include loss of or               ant. Such building is vacant when it does
                 damage to:                                                not contain enough business personal
                 (1) Personal Property in the open; or                     property to conduct customary opera-
                 (2) The "interior of a building or struc-                 tos
                     ture", or property inside a building or           (2) When this policy is issued to the owner or
                     structure, unless the roof or an out-                 general lessee of a building, building
                                                 trutur ismeans
                                   sidewal ofthebuidingor                          the entire building. Such building
                     fsdawaofte b uifling obstrctur i                      is vacant unless at least 31 % of its total
              c. Water damage means accidental dis-                        (qa)ree ta lsse rsblse n
                    charge or leakage of water or steam as                     Red by th lessee or sub-lessee tod
                                                                               us
                   the direct result of the breaking apart or                  conductyits cusomar opuerios;e o
                   cracking of any part of a system or appli-                  cnutiscsoayoeain;o
                   ance (other than a sump system including                (b) Used by the building owner to con-
                   its related equipment and parts) that is lo-                duct customary operations.
                   cated on the described premises and             31. "Valuable Papers and Records-
                                  contins
                                     seam.a.ateror                        Means inscribed, printed or written:
         27. "Stock" means merchandise held in storage
             or for sale, raw materials and in-process or                  (1) Documents;
             finished goods, including supplies used in                    (2) Manuscripts; or
             their packing or shipping.                                    (3) Records;
        28. "Suspension" means:                                           including abstracts, books, deeds, draw-
             a. The partial or complete cessation of your                 ings, films, maps or mortgages; and
                  business activities; or                              b. Does not mean "money" or "securities" or
             b. That a part or all of the described prem-                 "Electronic Data Processing Data and
                  ises is rendered untenantable.                          Media".
        29. "Theft" means any act of stealing.                    32. "Water Supply Services" means the follow-
        30. "Vacant" means the following:                             ing types of property supplying water to the
            (1) When this policy is issued to a tenant,               described premises:
                 and with respect to that tenant's interest           a. Pumping stations; and
                  in Covered Property, building means the             b. Water mains.
                 unit or suite rented or leased to the ten-




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                                                               License Agreement
                                                                 March 17. 2008


      T[his License Agrcemeni "gemn"             is entered into its of March 17. 2008 by and between McFadden
      Communications, ILLC at Yennessee Limited Liabilit) Company, ("Owner") and 1-li Tech Perlormatic EL,gjne
      Rebuilders. a Tennessee Sole proprietorship ("Licensce").

      T[he F01i0loN in-s defin it ions shall have thle fol lowing mieanling:

                Premises:             Municipally known as 1836 Chelsea AV01nue. Mem1phiS, TenC11       CCand consisting of tWO
                                      (2) buildings of approximately 35,454 square feet situated onl approximately 1,941 acres of
                                      land (Piremises").

                Pillposes:           Prennises used 11or auto1MObie I-epair ("I'urposes").

                Term:                Commences Match 17. 2008 ("Commencement Date") and continues for thirty (30) daN s
                                     expiring onl April 16. 20108 (" furm")

                Tern Extension: Licensee and Owner acknowled-e that Licensee and Owner have entered into~ a Sales
                                Contract for the purchase and sale of the Preises, attached hereto as E~xhibit "A" ("Sales
                                Contract"). Provided Licensee fails to tecrminate the Sales Contr-act prior to expiration of
                                tile Inspection Period of thle Sales Contract and elects to proceed to Closing of the Sites
                                        Contact.Ownr wil gree to extend the ierm) of this Agreement for a period of fiflen
                                 (15) (lays expiring onl May 1. 2008 ("Termn Extension").

               Licensee Fee:        Licensee shall be responsible for the payment of all utility costs to Mvemnphis .ighn Gas
                                    and W'ater. Said uitilitV Costs, Shall include, bui, not be limited to, all costs forl electricity.
                                    gas. water, sewage, eC., used by Licensee and/Or Owner, at the Premises ('License Fee").

     Ini consideration of the Mutual covenants and agrcements contained herein and paymnrt of thle License Fee, OAvnec
     -rants to Licensee for the [erni a license ("License") to enter upon and use the Premises for thle Purposes only and
     for no other purpose whatsoever. While making use of the Premises. Licensee shall, at its sole expense. fully and
     faithfully comply with any and all applicable laws, rules. rt2ulaiions and ordinances. D)uring the Term, L.icensee
     shall obtain and keep in full force and effect. at its sole expense, commercial general liability insurance with
     minimumn limits of S300.000 per occurrence and S 1,000.000 general aggregate for bodily injury, personal inJury, and
     property damnage. Such insurance shall be endorsed to include Owner and its mianagsement entities ats addilional
     instureds, shall be primnary and noncontributory with an\ Owner insurance. Prior to Licensee's entry and use of the
     Premises for thle Purposes, Licensee shall deliver to Owner a certificate in form and SUbstance satisfactory to Owner
     or other evidence satisfactory to Owner evidencing the existence of thle Insurance reqluired by Owner.

     Licensee accepts the Premises in its "As Is" condition. Licensee further agrees to surrender the Pretnises to Owner
     in the condition in which it was delivered, damrage covered by insurance excepted to the extent proceeds of such
     insurance are actually received by Owner. Licensee shall, at its sole cost and expense, maintain and repair the
     P~remises, and all systems serving the Premises during the Termn, and Termn Extension, if any. Licensee will perinit
     unrestricted access to the Premises al all times w.ithout notice to Owner and any representatives or invitees of
     Owvner.

     The License is revocable immediately and without aim': notice upon breach of any of the tetrms of this Agreement
    ("Revocation') or. if no breach has occurred, immediately upon the expiration of the Term, and( Term Extension, if
     any, included herein ("Termination'). Notice of Revocation or Termination shall be in wrifing. Notice shall be
    effective when personally delivered, or 48 hours after deposit in the mail if mailed. If mailed, the notice shall be
    sent first-class mail. postage prepaid, addressed to thle party at the address set forth below the signature line Jbr ihai
    party. The License shall terminate upon its Revocation or Termination as the case may be. Notwithstanding the
    Revocation or Tlennination of the License, Licensee shall continue to remain liable for any obligations imposed on
    Licensee by this Agreement and for thle breach by L.icensee or its agents, contractors, employees, licensees or
    invitees of any termn or pr ovision of this Agreement.
                                                                                                                         EXHIBIT

                                                                                                                   -'3 -           Exhibit 1
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      Licensee shall defend, with counsel reasonably satisfactory to Owner, and shall indemnnity and hold harmless Owner
      and Owner's officers, directors, shareholders, agents, miembers, managers, eniployees, partners. successovs, and
      assigns (for purposes of this paragraph. Owner and Owner's officers, directors, shareholders, agents, members.
      mianagcers, employees, partners, successors, and assignis ale collectively referred to 'Is Owvner") fromn andagainlst
      any damragcs, losses. claims, liens, expenses, liabilities, injuries, and other expenses of any, nature whatsoever.
      including reasonable attorney's fees and cost, relaling to or. arising from Licensee's use or maintenane of lhe
      Premises, or fromn any' activity work or thing done, perittaed Or SUffered by Licensee in or about the PrColiSCS, Or
      arisirug or resulting from any breach or default by Licensee of its obligations under this Agreement. Licensee, as a
      material part of the consideration aiven to Owner, assumecs all risk of damage to property or' i11JUry to pOrSOnS ln,
      upon or about the P~remnises frm any> cause imhatsoever, other than as a result of ONer's Qross negligence or willful
      misconduct, and Licensee waives all claims in respect thereof against Owner and releases Owner of all such claims.
      The covenants contained in this paragraph shall survive the expiration or earlier termination ofithis Aereement.

      TIhe rights granted hecrein to Licensee are personal to Licenlsee and shall not be assigned or transfe~rted by Licenisee.

     This Agreement supersedes any other previous or contemporaneous agreement or understanding between thle par-ties
     with respect to the sttbject mnatter herein and containts the entire understandin- between the parties iNith respect to the
     Subject matters herein. Ini the event that Ownet iramtsfers the real property of which the premises are a part or any
     intirest ihmrifi including the Premises. or is otficrmise divested thereof, then the rightts of Owner under this
     Agreement shall pass to OWnerS Successor. If any paty institutes alt action or proceeding to enforce this
     Agreemtent as against any other party thereto, the losing palty shall pay to the prevailing party the attorney's fees and
     cost incurned by the prevailing party in such action or proceeding. This Agreement shall inure to the benefit ofatnd
     be binding upon the successors and assigns of the parties hereto. Should any action or oilietr proceeding" or
     arbitration arise regarding the enforcement or interpretation ofthtis Agreement. it ,hall take place in the County of
     Shelby subject to the laws ofitic State of Tennessee.


     OWN ER:                                                            LICENSEE:

     McFadden Communications, LLC                                       I-i Tech Performance EnLine Rebuilders
     a Tennessee limited liability company'                             a Tennessee sole proprietorship
                       %'17


     Namne: J. Stillman McFadden                                        Natme: Marcus Smith

     Its: Chief Manager                                                            Its; Owner

     Address: 670 S. Cooper St.                                         Acldress   854 N. Ericson Rd.
              Memtphis, TN 18 104                                                  Cor~dova, TN 38018




                                                                                                                             Exhibit 1
Case 2:09-cv-02336-BBD-tmp Document 1-1 Filed 05/29/09 Page 51 of 66                                                     PageID 53




                                                  SALES, CONTRACT
     (Votal number of executed copies made       5   )Memphis,                         [N                    I chruary 18, 2-008

     RECE.IVED OF Marcus-Smith the sum ofThree Thousand and No."100 Dollars ($3-.000:00) as carnest mtonev and in
     part payment for the purchase of the following described real estate. situated in the Ciiy- of Memphis, County of
     Shelby, anid State of Tennessee, to-wit:
            Two industrial buildings of approximately 35,454 square feet, situated on.approxiniately 1.94 acres of
            land. located at the NW corner of Chelsea Avenue and Mc[Lean Boulevard, Memphis, Tennessee,
            being identified by the Shelby County Assessor's office as Parcel No. 041001 00195(2 and being all
            thle propert- ow-ned at this location by Seller, inclusive o1fthe afterburner (hereinafter the "Property")

     The Seller covenants and agrees to sell and convey said real estate, with all improvements thereon, or cause thle
     same to be conveyed, by good and sufficient %varratit deed, unto the Purchaser, or unto such person or persons as
     the Purchaser may designate (thle undersigned Purchaser. however, shall not be released from any, of the Purchaser's
     agreements and undertakings as set fiorth herein, unless otherwise stated): and the Purchaser covenants and agrees to
     purchase and accept the same, at and for the total price of' Two IlUndred Five TIhousand and No/l100 Dollars
     (S205.000.00), upon terms as follows:
     All cash at Closing, of'which the earnest money is a part.

     This Offer to Purchase is expressly contingent for~ a period of tip to fifty-five (.55) days from Date of Acceptance Cot
     Puirchaser's inspections and satisilaction with tile Propenty (hereinafter the "Inspection Period"). Purchaser may
     terminate this Contract on or before the fifty-fifth (55th) day -after Date of Acceptance, for any reason whatsoever in-
      Purchaser's sole discretion, by providing written notice thereof to Seller,                                            hol-be   -

     i-eturried-to~-Purchaser and there shall be no fuirther obligation of either party to the other.. If notice is not provided as
     stated above, then Purchaser and Seller shall proceed to Closing, which shall occur within fifteen (15) days of the
     Qxp)iration of the Inspection Period (hereinafter thle "Closino')

     Thle earnest mioney shall be deposited in the r-egulzir earnest money account at Colliers Wilkinson Snowden. 1-

     PUrchaser and Seller understand and agoree that H-enry Stratton and Colliers Wilkinson Snow,den are acting as zn,ents
     of the Seller.

     Tlitle to be conveyed subject to all restrictions. easements and covenants of record, and subject to zonin, ordinances
                  ~\overnmental
               nfqn  -~            authoritly.




                                                                                                                                Exhibit 1
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      evidence of an election to declare this contract canceled, as Seller shall have the right to retain his portion of this
      earnest money to be credited against damages actually sustained.

      The Seller agrees to pay Colliers Wilkinson Snowden a commission of six percent (6%) of the sales price. Unless
      otherwise specified herein, such commission is to be paid in cash out of the net proceeds of the sale at time of
      closing this transaction.
      Seller is to pay for preparation of deed, recording- of purchase money trust deed, if any, continuation of written
      evidence of title, state tax and clerk's fee on trust deed, and notary fee on deed. Purchaser is to pay for preparation
      of note, or notes, and trust deed, notary fee on trust deed, recording of Warranty Deed, state tax on Warranty Deed,
      and expense of title insurance, except as hereinbefore provided. Seller and Purchaser are to share equally in paying
      closing fees in connection with this transaction. If Purchaser obtains a loan on this property, he is to pay all
      expenses incident thereto.

       Should there be any tax, insurance, or other accrual items on deposit with the holder of any debt secured by said
       premises and assumed by Purchaser, the Purchaser shall at the time of closing reimburse the Seller therefor.

       Seller warrants and represents to Purchaser that as of the Effective Date of this Agreement and as of the Closing
       hereof, as follows:

       (a)      There is no pending or, to the knowledge Of Seller, threatened condemnation or similar proceeding or
       special assessment affecting the Property, or any part thereof, nor to the knowledge of Seller, is any such proceeding
       or assessment contemplated by any Governmental Authority. As used herein, the term "Governmental Authority"
       shall mean the United States, the State of Tennessee, the City of Memphis, any applicable county or district, and any
       agency, department, commission, board, bureau or instrumentality of any of them.

       (b)       No assessments for public improvements or otherwise have been made against the Property which remain
       unpaid by Seller including, without limitation, those for construction of sanitary or storm sewer, water, gas and
       electric lines and mains, streets, roads, sidewalks and curbs; and to the best of Seller's knowledge, none have been
       proposed.

       The aforesaid representations and warranties of Seller shall survive the Closing of this Agreement.

       This instrument when signed only by the prospective Purchaser shall constitute an offer, which shall not be
       withdrawable in less than 72 hours from the date hereof

       Notices hereunder shall be given, in writing, by Certified Mail, Return Receipt Requested, Federal Express,
       Registered Mail, or other similar mailing requiring the execution of a signed receipt by the recipient. Notices shall
       be deemed given and delivered when a receipt therefore is executed by the party receiving notice. If the parry to
                    -......-   --    ~     ~     nt   Aoivp.r   nr execute a receipt therefore, notice shall be deemed given




                                                                                                                         Exhibit 1
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                                                                    ritten.
     Witness the si-tnatures of all parties the day and year above NN


     Subject to clearance o1f any check given.                         Purchaser(,,):....
     the undersigned Agent acknowledges receipt
     ol'the above mentioned earnest money and                          1v
     holds sarne in trust subJect to the terms of                           M'arCLIS Stnith
     this contract.
      Colliers Wilkinson Snowden
                                                                       Seller: McFadden Communications LLC



                                                                              J. Stillman McFadden



      purchaser and Seller agree that the Date of Acceptance is February 2 Ist, 2008, as evidenced by their initials hereto.
      Purchaser ~'Z~             Seller-




                                                                                                                         Exhibit 1
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 incident Report #0807013499ME              Memphis Police Department


Location of Occurrence               Apt. Complex/Business          City/State                         District
1836 Chelsea                           Hi Tech Performance Engine ReMemphis, TN 38108                  127
ReDorting Officer                    Emu #            Car #         Partner                            EmD #~
M. A. Scarborough                    10464            157A          B. Jayroe                          11212
Offense(s) (1.10 listed by description)
 Offense 1:    Burglary/Business                                                        220              Completed

Date/Time Reported/Arrived          Date/Time Occurred Between
7/23/2008 3:48:00 AM                7/22/2008 3:00:00 PM              7/23/2008 2:54:00 AM

COMPLAINANT
Name    Smith, Marcus C

Address                                   City                State         ZIP + 4           Home Phone      Work Phone
1836 Chelsea                              Memphis             TN            38108             901-552-4361    901-552-4361

Driver's License           State          Social Security #                 DOB               Age     Race    Sex
09719685]                  TN                                               7/24/1982         25     BLACK MALE




                                                                                                       EXHIBIT            j
                                                                                                                    Exhibit 1
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 Incident Report #080701 3499MEMe                  piPlceD                arm n


VICTIM # 1                                       (Related Offense(s)):   220
Name Hi Tech Performance Engine Rebuilde

Address                                City                      State          ZIP + 4      Home Phone     Work Phone
1836 Chelsea                           Memphis                   TN             38108        901-552-4361

Driver's License          State        Social Security #DOB               Age Race                               Sex
                          TN                                                  UNKNOWN                            UNKNOWN

Ethnicity              Height       Weight          Eye Color                   Hair Color          Marital Status


Clothing                                                      Gang Name or Affiliation              Residency


Language       Employer              Work Address                         Occupation                        Cell Phone


Domestic Violence? NO                                                                                       Pager


Emergency Contact for Victim           zamg         p,Phone


Victim Injuries


How Assaulted


Medical Treatment

Prior Conflicts With Suspect


Negligent Manslaughter /Homicide Aggravated Assault Circumstance


County Colleges:
 Is Victim a College Student in This County?NO
    Victim Involved Was:
          College Code:
Victim Arrested: NO
Victim Relationship to Suspect
     Offender 1:                                                  Offender 6:
     Offender 2:                                                  Offender 7:
     Offender 3:                                                  Offender 8:
     Offender 4:                                                  Offender 9:
     Offender 5:                                                 Offender 10:
LEOKA INFORMATION
Law Enforcement Activity                                 Law Enforcement Assignment

Assault/Killing Type                                     Weapon Used



                                                                                                            2



                                                                                                                Exhibit 1
Case 2:09-cv-02336-BBD-tmp Document 1-1 Filed 05/29/09 Page 56 of 66                                         PageID 58




 Incident Report #0807013499ME                  Memphis Police Department


Child Witnesses - Domestic Violence Only
Name                                                     Age                Sex

SUSPECT # I
Name        Brown, Charles D
Address                                        City                 State         ZIP + 4      Home Phone     Work Phone
1979 Alcy Rd                                   Memphis              TN            38114        Unknown

Driver's License               State                                              DOB          Age / Age RangtSex
054547048                      TNil                                               6/8/1960     48             MALE
Race                      Height                  Etlinicity   Weight             Eye Color    Hair Color     Marital Status
BLACK                     507                     NON-HISPANIC 169                                            Single
Clothing                                                       Gang Name or Affiliation               Residency
Black hat; black t-shirt; dark blue jeans; white tennis shoes
Language       Employer                             Work Address                       Cell Phone            Pager

English
Occupation
Disabled
Scars, Marks, and Tattoos:
Primary Features:

Glasses          Complexion            Teeth             Beard/FacialHair         BUI          Hair Length    Hair Syle
Glasses          Dark                  None              Mustache                 Heavy                       Afro/Natural
Speech           Voice                 General Appearance                                      Demeanor
Talkative        MEDIUM                DIRTY                                                   Calm

 Arrested:YES 03




                                                                                                             3




                                                                                                                  Exhibit 1
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 Incident Report #0807013499MvE                      Memphis Police Department


SUSPECT # 2
Name        Shaw, Willie
Address                                         City                  State      ZIP + 4        Home Phone      Work Phone
911 Second                                      Memphis               TN                        901-526-2076
Driver's License              State             SDOB                                            Age! Age Rang(Sex
080564112                     TN                                                 5/5/1970       38            MALE
Race                       Height                     Ethnicity    Weight        Eye Color      Hair Color      Marital Status
BLACK                      506                        NON-HISPANIC 145                                          Married
Clothing                                                         Gang Name or Affiliation              Residency
Black t-shirt; dark blue pants; black shoes
Language         Employer                              Work Address                     Cell Phone             Pager

English          FedEx
Occupation
Loader
Scars, Marks, and Tattoos:
Primary Features:

Glasses          Complexion             Teeth              Beard/FacialHair      BUI            Hair Length     Hair Syle
                 Dark                                      Unshaven              Thin                           Bald/Balding
Speech           Voice                  General Appearance                                      Demeanor
Talkative        RASPY                  DIRTY                                                   Angry

 Arrested:YES 03


SUSPECT ACTIONS
Total # Suspects: Male/Black          Suspects: 2.

All Crimes:
SUSPECT(S) KNOWN. TOOK OTHER.


Crimes ALFainst Persons:



Crimes Against Property:
VANDALIZED,




                                                                                                               4




                                                                                                                       Exhibit 1
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 Incident Report #0807013499ME               Memphis Police Department


OFFENSE INFORMATION                      -   OFFENSE # 1
Criminal Activity



Location                                         Units Entered        Home Invasion           Method of Entry
SPECIALTY STORE                                                                               FORCIBLE

Hate Crime/Incident Bias
NONE

Gang Activity    Gang 1 Type/Name                                    Gang 2 Type/Name
NO GANGS
Weapon/Force Involved



Offender Suspected of Using


Point of Entry
1) Vent.
Point of Exit                                       Tools Used                          How Used

1) Rear Door.                                       1) Physical. 2) Pliers.


 OFFENSE LOCATION INFORMATION
 Crime Scene                  Type of Business       Place/Target of Offenses
 CSC                          BSY                    MOE
 How Entered
 HWE
 How Call Received            Security Used
 H4CR                         SCU
 Weather                      Lighting
WTH                           LLV




                                                                                                          5



                                                                                                                Exhibit 1
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 Incident Report #0807013499ME              Memphis Police Department



PROPERTY#~1                                    Related Offense:220
Reportable Property     Worthless Document Weapon IBR Property Code
YES                     NO                 NO       38 - VEHICLE PARTS/ACCESSORIES
Item/Weapon Type
Engine
Item Brand                        Model                    Serial            OAN
Various
Characteristics/Description
Various engines, carbs, intakes, aftenators
Insurance Company                Insurance Phone   Color                 Quantity    Unit of Measure      Total Value
                                                   Black                 30                               15000
Finish            Caliber      Gauge               Length                Automatic   Other


Instrument Number             Instrument Date      Card Company          Account Name


Bank Name                     Account Number       Payable To            ID Used               S Amount on Document


Recovery Location                                                        Property Location


Owner Name                                         SSN                   Owner Is
Smith, Marcus C                                    XXX-XX-XXXX
Owner Is Other      Tag/Property Receipt Number       Type Property Loss (UCR)                         Agency Status
YES                                                   STOLEN




                                                                                                          6



                                                                                                               Exhibit 1
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  Incident Report 40807013499ME                 Memphis TPolice Depa,rtment



VEHICLE # 1
License #          State          Expires         VIN
406SVM             TN             7/1/2009        IG6KD52B4RU237334
Vehicle Type                      Year            Make                                           Model
Passenger                         1994            Cadillac                                       Deville
Color                                             Doors                 Value                    Value of Recovered Parts
Purple                                            4                     7000
Owner Is              Other Owner                 Name
Suspect# 1           NO
Additional Description



Insurance Company:                                                                          Insurance Phone:

Recovery Information
Arrest Yes/No                   How Many Arrested            Recovery Location                   District              Recovery Time


Owner Notified By          Date/Time Notified                Method Notified              Released To


Date/Time Released                Released By                   Recovered Stripped/Dam aged Information


Type Property Loss (UCR)           NONE                      Agency Status



DRUGS
Drug Type                                                    Quantity          Measure


Number of Plants           Number of Plots                                     Latitude                    Longitude
                                                 DRM
Drug Paraphernalia Description


Property Tag/Receipt No.                         Color                         Property Status




NARRATIVE #11
On 07/23/08 at 03:48 hours, officer(s) M. A. Scarborough (10464) and B. Jayroe (11212) responded to a Burglary/Business
at 1836 Chelsea and the Reporting Officer advised That on 07.23.08 at 0254 hrs A/O'S observed the headlights of a light
brown 1994 Cadillac baring TN tag #406SVM pulling out of the woods behind the business at 1836 Chelsea. As the veh.




                                                                                                                          7



                                                                                                                              Exhibit 1
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 Incident Report #0807013499ME               Memphis Police Department




pulled out onto Mclean the vehicle stopped as the officer pulled up to him. Sus: Brown, Charles got out of the drivers seat
and walked up to the A/0's car. NO observed Sus: Brown, Charles to have grease smudges on his hands and his clothing
were soaking wet. NO conducted a QW and DLC on Sta. B where it was revealed that his D/L was revoked on 06.22.01 for
DUL. Sus: Brown, Charles was placed under arrest for driving on a revoked D/L. An inventory incidental to arrest was
conducted and several engine blocks, manifolds and various other engine parts were found in the trunk. Also found in the
trunk was 20 copper pipes approximately three feet in length, large rubber gloves and a small sledge hammer. NO observed
various engine parts in two large tote bins in the rear seat. The passenger, Sus: Shaw, Willie was sitting in the front
passenger seat and was detained. During pat down NO could feel a metalic object in his left front pocket. Sus: Shaw,
Willie stated that it was his wrist watch (Relic). NO0's followed the trail that the car was sitting at and it led to a large hole in
the chain link fence. Several engine parts were lying on the ground. N/0's observed a large vent duct removed from the
building where access could be gained to the building. The door beside the vent was unlocked and had greasy prints on it.
Lt. Gentry, IBM #2953, car #106 made the scene and advised. Compl: Smith, Marcus made the scene and advised that the
property in Sus: Brown, Charles's car was his. Compl: Smith, Marcus further advised that the Relic watch and sledge
hammer was his also. Crime Scene Officer D. Beckham, IBM #0251, Car #2331 processed the scene and took photos. The
copper tubing found in the trunk was cut from the NW corner of the building which is owned by James Mcfagdon (Toof
Printing Co. on S. Cooper St.) Both suspects were transported to 201 Poplar.




                                                                                                                 8



                                                                                                                      Exhibit 1
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                                       r .ARRIs BOB-ANGo BRANAN PLC
                                                     ATTORNEYS            AT     LAW


                         One Commerce Square, Suite 2000 / Memphis, TN 38103 / 901-259-7100 /Fax     901-259-7150




                                                        December 8, 2008



      The Travelers Indemnity Company of America
      c/o Mike Brown
      6840 LaGrange Grove Lane
      Cordova, Tennessee 38018

             Re:        McFadden Communications, LLC
                        Policy No. 3085LI48
                        Claim No. A6Z5065
                        Property: 1836 Chelsea, Memphis, Tennessee
                        Date(s) of Loss: September, 2008

      Dear Mr. Brown:

            Our firm represents McFadden Communications LLC ("McFadden") with regard to the
     above theft losses. I am sure you are familiar with this claim, so I will not restate all details.

              Travelers acknowledged receipt of the claim in writing on September 30, 2008. Two
     weeks later, on October 15, 2008, Stillman McFadden met with Chris Morrill, Travelers'
     investigator, and provided the following: (1) recorded interview; (2) sales contract and license
     agreement to Marcus Smith d/b/a Hi Tech Performance Engine Rebuilders; (3) certificate of
     insurance obtained by Marcus Smith; (4) relevant Memphis, Light, Gas & Water invoices; and,
     (5) estimate from Butterbean Electric totaling $600,000. Four or five weeks ago, Travelers'
     electrician inspected the property to prepare an estimate. While ample time has been afforded
     for Travelers' to complete its investigation, it is our understanding the investigation is still
     underway and your electrician is not yet 50% complete with his quote. If anything further is
     needed from McFadden that has not already been provided, please advise immediately. If further
     entry to the building is needed, it can be arranged on short notice.

             As you are aware, McFadden received an offer to sell the property, and desires to move
     forward with the sale. McFadden is also aware that your company is pushing his agent to
     remove the property from its policy despite no resolution of the claim. Time is of the essence.
     Since Travelers has had ample time to investigate this claim, it will not be prejudiced by the sale,
     nor will a sale of the property impair this claim. The prospective purchaser is aware of this claim
     and will reasonably cooperate with Travelers as may be needed in the near future, including
     allowing entry to the building. If Travelers has any objection to the impending sale of the

                                                                 OS Wa,




            MEMPHIS EAST: 1100 Ridgeway Loop Road, Suite 400 /Memphis,         TN 38120 / 901-259-7120 / Fax 901-259-7180
                   NASH-VILLE: 618 Church Street, Suite 300 / Nashville, TN 37219 / 615-726-1200 / Fax 615-726-1776



                                                                                                                              Exhibit 1
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                                              FARRIS BOBANGO BRANAN, PLC

      Mark Brown
      December 8, 2008
      Page 2


      property, please notify me within 48 hours. Otherwise, McFadden assumes that Travelers has no
      objection and agrees that the sale of the property will not affect this claim. Should Travelers'
      opinion differ from the aforementioned statement, notice of such position should be sent to my
      attention immediately. The closing of the sale is expected to occur within a week.

              For the time being, McFadden is willing to resolve this claim for the value of the stolen
      materials. However, if the current proposed sale of the property does not occur, because of the
      delay in resolving this claimn, then McFadden reserves its right to insist that the stolen materials
      be replaced by Travelers. As you might be aware, the difference between the value and
      replacement cost, because of labor alone, is likely to approach two hundred thousand dollars.
      The value of the property and its use was much greater prior to the claim and will be again once
      the repairs are made.

             This letter shall serve as formal notice of demand for payment pursuant to T.C.A. § 56-7-
     105. This claim needs to beyresolved. In the event this claim is not resolved within 60 days as
     contemplated by law, McFadden will consider all legal options available to it including, but not
     limited to, filing suit for bad-faith failure to pay and violations of Tennessee's Unfair Claim
     Settlement Practices Act, T.C.A. § 56-8-104. We hope this will not be necessary.

              We look forward to hearing from you to conclude this matter. McFadden remains ready,
     willing, and able to fully cooperate with Travelers and negotiate a fair and reasonable settlement
     of it claim.

                                                        Sincerely,



                                                       Garrett M. Estept

     GME/mbp
     cc:  Stillman McFadden
          Eddie Floyd
     G'DAAGNE McFaddn\Tracr,M81I208 It, doc




                                                                                                         Exhibit 1
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                                   FARRIs BOB ANGo BRANAN PLC
                                                 ATTORNEYS            AT LAW

                      One Commerce Square, Suite 2000 / Memphis, TN 38103 / 901-259-7100 /Fax    901-259-7150




                                                     December 29, 2008



     The Travelers Indemnity Company of America
     c/o Mike Brown
     P.O. Box 681746
     Franklin, Tennessee 37068

             Re:     Insured: McFadden Communications, LLC
                     Policy No. 3 085L 148
                     Claim No. A6Z5065
                     Property: 1836 Chelsea, Memphis, Tennessee
                     Date(s) of Loss: September 12, 2008

     Dear Mr. Brown:

             On behalf of our client, McFadden Commnuni cations, LLC ("McFadden"), our firm is
     continuing to search for additional evidence to document occupancy at its 1836 Chelsea property
     by Marcus Smith d/b/a Hi Tech Engine Rebuilders. The purpose of this search is to refute your
     company's recent denial of McFadden's claim and to avoid litigation. As stated in your letter
     dated December 4, 2008, that denial was based on your opinion that the building was unoccupied
     for over 60 days prior to the claim occurring. We have additional evidence of occupancy of the
     property during that 60 day time period.

             At about 4 AM on July 23, 2008, Officers M.A. Scarborough and B. Jayroe of the
     Memphis Police Department arrested two men for burglarizing the business of Marcus Smith
     d/b/a Hi Tech Performance Engine Rebuilders. That business occupied 1836 Chelsea. Engine
     parts and a Relic watch were among the items stolen. Marcus Smith made the scene, identified
     the stolen property as his, and complained to the police. A copy of the resulting incident report
     is enclosed.

            A copy of the license agreement and sales contract between Marcus Smith and McFadden
    has already been provided to Traveler's, along with other supporting documents. We are
    continuing our efforts to locate Marcus Smith and other evidence demonstrating that the property
    was not "vacant" as Traveler's contends in its December 4, 2008 denial letter. Stillman
    McFadden, President of McFadden, Ronnie Kiihnl, Vice-President of McFadden, Bubba Ross,
    Plant Maintenance Manager of McFadden, and Henry Stratton, agent for Colliers Wilkinson and
    Snowden are all prepared to testifyi that the property was not vacant for 60 days or more prior to




           MEMPHIS EAST: 1100 Ridgeway Loop Road, Suite 400 / Memphis, TN 38120 / 901-259-7120 / Fax 901-259-7180
                NASHVILLEi 618 Church Street. Suite 300 / Nashville, TN 37219 / 615-726-1200 / Fax 615-726-1776

                                                                                                                      Exhibit 1
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                                               FARRIS BOBANGO BRANAN, PLC

      Mike Brown
      December 29, 2008
      Page 2


      the September thefts. Marcus Smith did not vacate the property until August, 2008. The fact
      that a theft of property occurred at 1836 Chelsea and that the tenant, Marcus Smith, filed the
      enclosed police report is conclusive evidence that the property was, in fact, occupied at that time.

              lf Traveler's intends to assert any basis for the denial of McFadden's theft claim, other
      than that the property was allegedly vacant for 60 days or more beforehand, please notify me
      immediately. Absent such timely notice from Traveler's, McFadden assumes that Traveler's has
      completed its investigation and has no other basis on which to deny the claim.

              McFadden remains ready, willing, and able to fully cooperate with Travelers and
     negotiate a fair and reasonable settlement of it claim. Traveler's is urged to reconsider its denial
     in light of thi s new information discovered by McFadden in the course of its own ongoing
     investigation. This claim needs to be resolved with 60 days of December 8, 2008, as set forth in
     our previous letter; otherwise, McFadden reserves its right to pursue all remedies available at
     law.

                                                         Sincerely,



                                                         Garrett M. Estep

     GME/mbp
     Enclosure
     cc:    Andre Crowder
            Jack C. Risley
            Stillman McFadden
            Eddie Floyd
     (3.,D T ,M   \cBd.TacesM   1229. I, doc




                                                                                                      Exhibit 1
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                              TRAVELERS    INDEMNITY   CO OF AMERICA

                               2908 POSTON AVENUE, % C S C
                                  NASVILE,TN 37203




                                                                                                                 Exhibit 1
